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 FREEDOM FRESH LLC
 CRYSTAL CRUISES - PRODUCE SALES REPORT
 FOR THE YEAR ENDED 2019

                                                                                     EXTENDED                                                       DELIVERY
           CUSTOMER          INVOICE NO.     LINE   PROD CODE   QUANTITY    PRICE                              PRODUCT DESCRIPTION                              CLASS
                                                                                     $ AMOUNT                                                         DATE
 CRYSTAL CRUISE - SYMPHONY     1702358        10      8102             10    32.00       320.00   ARTICHOKES             24 CT.                     10/04/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702358        20      8207             25    26.18       654.50   BROCCOLI, CROWNS                20#               10/04/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702358        30      8286             22    27.44       603.68   CAULIFLOWER              12 CT.                   10/04/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702358        40      8294              1    36.25        36.25   CAULIFLOWER, PURPLE          12-16ct.             10/04/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702358        50      8419              4    28.00       112.00   CORN, YELLOW FANCY          48-60 CT.             10/04/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702358       220      8909              4    26.80       107.20   KIWI            VOLUME FIL                        10/04/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702358       330      8913              2    39.20        78.40   KOHLRABI              12 CT                       10/04/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702358        60      9989              8     3.50        28.00   LEMONGRASS                  1#                    10/04/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702358       240      9253              2    42.00        84.00   NECTARINES, VOLUME FILL            22#            10/04/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702358       250      9342              1    77.80        77.80   ORANGES, BLOOD 44ct/88ct         18lb.            10/04/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702358        70      8753              6    25.20       151.20   PARSLEY ITALIAN           60 CT.                  10/04/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702358       260      9384              2    26.80        53.60   PASSION FRUIT           18-26ct                   10/04/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702358       270      9388              2    43.00        86.00   PEACH, VOLUME FILL             22#                10/04/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702358       280      9433              6    53.60       321.60   PEARS, RED           1/2 case                     10/04/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702358        90      9440              3    18.60        55.80   PEAS, SNO              10#                        10/04/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702358        80      9443              3    23.80        71.40   PEAS, SUGAR SNAP              10#                 10/04/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702358       120      9477              7    39.84       278.88   PEPPER, HABANERO (ORANGE)              8#         10/04/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702358       110      9481              3    13.60        40.80   PEPPER, JALAPENO               10#                10/04/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702358       130      9524              1    14.80        14.80   PEPPER, SERRANO               10#                 10/04/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702358       100      9530              8    42.79       342.32   PEPPER, YELLOW GOURMET               11#          10/04/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702358       290      9548              0    46.80          -     PINEAPPLES GOLD, BABY         10-12ct.            10/04/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702358       210      9551              1    36.00        36.00   PLANTAINS GREEN              50#                  10/04/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702358       300      9556              2    40.80        81.60   PLUMS, BLACK, VOLUME FILL           28#           10/04/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702358       310      9563              1    79.60        79.60   POMEGRANATE                CASE                   10/04/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702358       150      1670              2    31.20        62.40   SQUASH, CHAYOTE WHITE               40#           10/04/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702358       140      9802              3    25.60        76.80   SQUASH, YELLOW FANCY              CASE            10/04/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702358       340      9812              0    28.60          -     SUNCHOKES                10lb.                    10/04/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702358       320      9820              1    48.80        48.80   TANGERINES             120 CT.                    10/04/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702358       180      9833              2    17.80        35.60   TOMATILLO - PEELED             10#                10/04/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702358       160      2254             12    15.80       189.60   TOMATOES, CHERRY (SHIPS)          12/1pt.         10/04/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702358       170      9863              3    18.50        55.50   TOMATOES, PLUM              25 #                  10/04/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702358       200      9896              4    24.80        99.20   TOMATOES, YELLOW                10#               10/04/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702358       190      9898              2    32.80        65.60   TOMATOES, YELLOW GRAPE             12/1pt.        10/04/19   PRODUCE
                             1702358 Total                                             4,348.93
 CRYSTAL CRUISE - SYMPHONY     1702368       440      8022              8    28.00       224.00   APPLES, GALA              125 CT.                 10/04/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702368       460      8035             12    32.80       393.60   APPLES, GOLDEN               125 CT.              10/04/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702368       450      8048              5    34.00       170.00   APPLES, GRANNY SMITH              125 CT.         10/04/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702368       470      8081              8    26.00       208.00   APPLES, RED              125 CT.                  10/04/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702368       480      8119             20    46.00       920.00   AVOCADOS, FRESH                   CS              10/04/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702368        10      8158              4    11.50        46.00   BEETS, CUT                 25#                    10/04/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702368       330      8200              2    24.80        49.60   BONIATO                  40#                      10/04/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702368        20      8196              4    23.70        94.80   CABBAGE, BOKCHOY                   30#            10/04/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702368        30      9249              5    28.20       141.00   CABBAGE, NAPPA                  30#               10/04/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702368        40      8231              4    47.00       188.00   CABBAGE, RED                  45#                 10/04/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702368        50      8243              4    22.00        88.00   CABBAGE, WHITE                  BAG               10/04/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702368        60      8264             30    21.00       630.00   CARROT JUMBO                    50#               10/04/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702368        80      8301              5    25.20       126.00   CELERY                30 CT.                      10/04/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702368        70      8300             10    33.40       334.00   CELERY KNOB                  12ct                 10/04/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702368        90      8433              5    19.20        96.00   DAIKON                40 LB                       10/04/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702368       150      8579              2    50.40       100.80   GALANGA ROOT(BLUE GINGER)                30#      10/04/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702368       120      8599             10    46.20       462.00   GARLIC, WHOLE JUMBO WHITE               CASE      10/04/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702368       130      8603              4    24.00        96.00   GINGER ROOT                   30#                 10/04/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702368       490      9968             38    22.80       866.40   GRAPEFRUIT                36 CT.                  10/04/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702368       500      8621             10    30.24       302.40   GRAPES, BLACK SEEDLESS LARGE              CASE    10/04/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702368       510      8629             31    28.80       892.80   GRAPES, GREEN SEEDLESS LARGE               CASE   10/04/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702368       520      8638             28    24.84       695.52   GRAPES, RED SEEDLESS LARGE               CASE     10/04/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702368       140      8824              1    46.80        46.80   HORSERADISH                   10#                 10/04/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702368       160      8929              8    23.60       188.80   LEEKS               12 Bunch                      10/04/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702368       530      8940             38    44.80     1,702.40   LEMONS, CHOICE              165 CT.               10/04/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702368       540      8949              2    39.80        79.60   LEMONS, MEYERS                 10 lb              10/04/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702368       170      8962              8    18.80       150.40   LETTUCE, BOSTON                 24CT.             10/04/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702368       180      8979             15    28.00       420.00   LETTUCE, ICEBERG               24 CT.             10/04/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702368       190      8998             13    28.00       364.00   LETTUCE, ROMAINE               24 CT.             10/04/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702368       550      9021             14    36.00       504.00   LIMES               200 CT.                       10/04/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702368       110      9026              2    46.80        93.60   LOTUSROOT                    10#                  10/04/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702368       560      9037            120     9.50     1,140.00   MANGOS                  12 CT.                    10/04/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702368       390      9092              1    35.40        35.40   MELONS, BITTER CHINESE               30LB         10/04/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702368       570      9094             45    24.80     1,116.00   MELONS, CANTALOUPE                 15 CT.         10/04/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702368       580      9109             36    16.50       594.00   MELONS, HONEYDEW                  8 CT.           10/04/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702368       210      9309             14    13.50       189.00   ONIONS, RED, MEDIUM                25#            10/04/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702368       200      9317              2    26.00        52.00   ONIONS, WHITE, JUMBO                50#           10/04/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702368       230      9337             20    15.50       310.00   ONIONS, YELLOW, MEDIUM                50#         10/04/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702368       610      9341            125    19.20     2,400.00   ORANGES                 125 CT.                   10/04/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702368       600      9360             30    26.80       804.00   ORANGES, CALIFORNIA               88 CT.          10/04/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702368       620      9374             50    13.80       690.00   PAPAYA, BRAZILIAN             10 CT.              10/04/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702368       240      9382              8    24.00       192.00   PARSNIP                  20#                      10/04/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702368       630      1204              8    32.40       259.20   PEARS, BARTLETT              120 CT.              10/04/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702368       250      9471             20    15.50       310.00   PEPPER, GREEN, CHOPPER                CASE        10/04/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702368       260      9513             16    33.75       540.00   PEPPER, RED                 25#                   10/04/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702368       340      9570              3    55.00       165.00   POTATO, FINGERLING WHITE               50#        10/04/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702368       270      9571             48    24.00     1,152.00   POTATO, IDAHO              100 CT.                10/04/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702368       320      9590              2    49.00        98.00   POTATO, PURPLE A                 50#              10/04/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702368       300      9985              3    25.00        75.00   POTATO, RED B                 50#                 10/04/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702368       310      9598              2    58.00       116.00   POTATO, RED C                 50#                 10/04/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702368       280      9618             50    22.50     1,125.00   POTATO, YUKON GOLD A                 50#          10/04/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702368       360      9690              2    24.00        48.00   RADISH, RED                40#                    10/04/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702368       430      9698              5    34.00       170.00   RUTABAGAS                   50#                   10/04/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702368       220      2743              4    47.20       188.80   SHALLOTS, WHOLE               8/5# BAG            10/04/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702368       370      9787              8    22.40       179.20   SQUASH, BUTTERNUT                18-22ct          10/04/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702368       350      9790              3    34.30       102.90   SQUASH, CALABAZA                 35lb             10/04/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702368       380      9806             15    19.60       294.00   SQUASH, ZUCCHINI MD                CASE           10/04/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702368       100      9823              5    23.80       119.00   TARO ROOT                   10#                   10/04/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702368       400      9846             60    24.00     1,440.00   TOMATOES, 6X6                  25#                10/04/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702368       410      9902              8    16.00       128.00   TURNIPS                  25#                      10/04/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702368       590      9914             33    28.60       943.80   WATERMELON, SEEDLESS, 6'S               CASE      10/04/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702368       290      9935              4    20.80        83.20   YAMS, FANCY #1(70-80ct)            40#            10/04/19   PRODUCE
                             1702368 Total                                            25,734.02
 CRYSTAL CRUISE - SYMPHONY     1702393        10      8424             70    14.80     1,036.00   CUCUMBERS, EUROPEAN        12 CT.                 10/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702393        20      3316             16    18.00       288.00   EGGPLANT          1-1/9 BU                        10/08/19   PRODUCE
                             1702393 Total                                             1,324.00
 CRYSTAL CRUISE - SYMPHONY     1702401       280      7985              4    42.80       171.20   ANISE, (FENNEL)          36 CT.                   10/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702401       290      7986              1    38.60        38.60   ANISE, (FENNEL), BABY         24ct                10/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702401       710      8095              0    53.76          -     APRICOT               10#/CS                      10/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702401        70      2004              1    65.60        65.60   ARTICHOKES, BABY              20#                 10/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702401       430      8733             30    17.67       530.10   ARUGULA, BABY            2/1.5 LB                 10/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702401        80      8108             46    30.58     1,406.68   ASPARAGUS, GREEN, LARGE            LG/11#         10/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702401        90      8114             10    26.18       261.80   ASPARAGUS, WHITE               11#                10/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702401       310      8654             30     5.50       165.00   BASIL                 1#                          10/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702401       160      8138              3    23.80        71.40   BEANS, CHINESE LONG             10#               10/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702401       170      8148              4    29.50       118.00   BEANS, GREEN               CASE                   10/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702401        60      8151              0    49.45          -     BEANS, SEA                5#                      10/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702401       190      8160              4    29.90       119.60   BEETS, GOLD, BABY            12CT                 10/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702401       200      8164              1    28.40        28.40   BEETS, RED BABY W/TOPS            12CT            10/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702401       720      8165             10    23.60       236.00   BERRIES,BLACK             12/6oz                  10/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702401       730      2040             28    28.40       795.20   BERRIES,BLUE             12/6oz                   10/08/19   PRODUCE




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 FREEDOM FRESH LLC
 CRYSTAL CRUISES - PRODUCE SALES REPORT
 FOR THE YEAR ENDED 2019

                                                                                     EXTENDED                                                           DELIVERY
           CUSTOMER          INVOICE NO.     LINE   PROD CODE   QUANTITY    PRICE                               PRODUCT DESCRIPTION                                 CLASS
                                                                                     $ AMOUNT                                                             DATE
 CRYSTAL CRUISE - SYMPHONY     1702401       740      8178              2    39.30        78.60   BERRIES,GOOSE               12/6oz.                   10/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702401       750      8180             24    33.90       813.60   BERRIES,RASP                 FLAT                     10/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702401       760      8186              0    30.48          -     BERRIES,STEM                4/1LB                     10/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702401       770      8192            107    29.44     3,150.08   BERRIES,STRAW, DRISCOLL                8/1#           10/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702401       210      8212              2    39.60        79.20   BROCCOLI FLORETTES                   18#              10/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702401       230      8206              1    59.40        59.40   BROCCOLI, CHINESE                 30#                 10/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702401       220      8218              2    33.60        67.20   BROCCOLLINI               18 CT.                      10/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702401       180      8197              6    36.60       219.60   CABBAGE, BOKCHOY BABY                   30#           10/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702401       100      8247              4    28.90       115.60   CARROT 1" TOP PEELED                  5#              10/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702401       120      2708              3    31.60        94.80   CARROT BABY YELLOW W/ TOPS                 1doz       10/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702401       110      8276              1    42.00        42.00   CARROT RAINBOW CRUNCH                     25#         10/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702401       240      1296              2    38.00        76.00   CAULIFLOWER, ROMANESCO (LG)              12/16 CT     10/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702401       340      8759              5    18.80        94.00   CHERVIL                   1#                          10/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702401       260      9988             15     8.50       127.50   CHIVES                   1#                           10/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702401       320      8734              5    19.80        99.00   CILANTRO, CALIFORNIA             30 CT.               10/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702401       350      8712              1    39.80        39.80   DILL                24 CT.                            10/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702401       800      1622              3    53.20       159.60   DRAGON FRUIT- RED                 10#                 10/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702401       270      3687              3    32.80        98.40   EGGPLANT, JAPANESE                   10#              10/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702401       450      8543              6    36.08       216.48   ENDIVE, BELGIUM                11#                    10/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702401       440      8544              2    32.28        64.56   ENDIVE, RED BELGIUM                 6#                10/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702401       780      8553              2    57.84       115.68   FIGS, BLACK MISSION            12/8oz                 10/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702401       610      8927              7    29.60       207.20   LEAVES- SHISO GREEN LEAVES             50CT PKG       10/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702401       480      8956             34    13.44       456.96   LETTUCE, BABY GREEN OAK                 2lb           10/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702401       470      9987             30    11.67       350.10   LETTUCE, BABY LOLLA ROSA                2lb.          10/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702401       460      8971             27    14.04       379.08   LETTUCE, FRISSEE                3lb.                  10/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702401       500      8992              6    24.00       144.00   LETTUCE, RED LEAF              24 CT.                 10/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702401        50      2338              2    24.00        48.00   MICRO GREENS- APPLE BLOSSOM                 50 CT     10/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702401       330      1798              8    24.45       195.60   MICRO GREENS- CILANTRO             8 OZ PKG           10/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702401       370      1272             12    17.00       204.00   MICRO GREENS- MINT             4 OZ PKG               10/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702401       630      1353              6    24.00       144.00   MICRO GREENS- PARSLEY              8 OZ PKG           10/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702401        30      9137              4    32.80       131.20   MICRO GREENS- SAKURA MIX CRESS                16 CT   10/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702401       510      9164              5    63.80       319.00   MUSHROOMS, CHANTERELLES                      1#       10/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702401       520      9166              4    13.50        54.00   MUSHROOMS, CRIMINI                   5#               10/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702401       540      9169              5    14.04        70.20   MUSHROOMS, ENOKI                 6/7 OZ               10/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702401       600      1730             50    16.80       840.00   MUSHROOMS, FANCY(SHIPS)                  10#          10/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702401       580      9197              6    23.40       140.40   MUSHROOMS, HON SHIMEJII BROWN                   3#    10/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702401       590      9198              6    23.40       140.40   MUSHROOMS, HON SHIMEJII WHITE                 3#      10/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702401       560      9208             16    23.40       374.40   MUSHROOMS, OYSTER                     5#              10/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702401       530      1406             40    14.58       583.20   MUSHROOMS, PORTABELLA CAP                     3#      10/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702401       550      9223              7    28.14       196.98   MUSHROOMS, ROYAL TRUMPET (KING OYSTER) 3#             10/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702401       570      9224             34    20.04       681.36   MUSHROOMS, SHITAKE                    3#              10/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702401       620      9276              1    26.70        26.70   OKRA                   15#                            10/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702401       670      9287              7    28.35       198.45   ONIONS, GREEN                 48's                    10/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702401       640      1557              4    28.00       112.00   PEAS, ENGLISH (IN THE POD)             5#             10/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702401       660      1746              1    62.80        62.80   PEPPER, GREEN THAI                10lb                10/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702401       650       13               1    19.20        19.20   PEPPER, SHISHITO                10#                   10/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702401       490      9679             10    13.80       138.00   RADICCHIO                12 CT.                       10/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702401       790      9696              3    23.40        70.20   RAMBUTAN                   5 lb                       10/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702401       380      9992              8     8.50        68.00   ROSEMARY                    1#                        10/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702401       390      8695              3    10.50        31.50   SAGE                    1#                            10/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702401       810      9740              3    36.20       108.60   SALSIFY              10#/CASE                         10/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702401       680      9751             50    19.60       980.00   SPINACH              4/2.5#/CS.                       10/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702401        10      9047              3    18.78        56.34   SPROUT CLOVER                  8/4oz                  10/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702401       150      9763              2     8.50        17.00   SPROUT, BEAN               5#/CASE                    10/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702401       250      9767              4    46.00       184.00   SPROUT, BRUSSEL                  25#                  10/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702401        20      9771              3    24.80        74.40   SPROUT, DAIKON CUPS             12/3.5 OZ             10/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702401       410      9777              8    23.10       184.80   SPROUT, YELLOW PEA SHOOT                  8 OZ        10/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702401       130      9781              3    18.65        55.95   SQUASH, BABY SUNBURST                   5#            10/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702401       140      9782              1    18.10        18.10   SQUASH, BABY ZUCCHINI                 5#              10/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702401       400      8696              5     8.50        42.50   TARRAGON                    1#                        10/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702401       420      8698              8     6.50        52.00   THYME                    1#                           10/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702401       690      9856              4    21.80        87.20   TOMATOES, HEIRLOOM ASSORTED                    10#    10/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1702401       700      1739              4    18.60        74.40   WATERCRESS, FOODSERVICE                  2/1.5#       10/08/19   PRODUCE
                             1702401 Total                                            18,140.90
 CRYSTAL CRUISE - SYMPHONY     1703092       630       8035            10    36.00       360.00   APPLES, GOLDEN              113 CT.                   09/28/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1703092        10       8102            12    25.00       300.00   ARTICHOKES                24 CT.                      09/28/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1703092        20       2004             1    48.00        48.00   ARTICHOKES, BABY               20#                    09/28/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1703092        30       8114            15    26.00       390.00   ASPARAGUS, WHITE                11#                   09/28/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1703092       640       8119            16    44.00       704.00   AVOCADOS, FRESH                  CS                   09/28/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1703092        70       8138             1    36.00        36.00   BEANS, CHINESE LONG               10#                 09/28/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1703092        80       1409             2    23.00        46.00   BEETS, GOLD, BABY             24 CT                   09/28/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1703092        90       8164             3    16.00        48.00   BEETS, RED BABY W/TOPS              24CT              09/28/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1703092       340       8165            10    20.00       200.00   BERRIES,BLACK              12/6oz                     09/28/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1703092       350       2040            24    22.00       528.00   BERRIES,BLUE              12/6oz                      09/28/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1703092       360       8178             2    40.00        80.00   BERRIES,GOOSE              12/6oz.                    09/28/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1703092       370       8186             3    26.00        78.00   BERRIES,STEM               4/1LB                      09/28/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1703092       130       8206             2    47.00        94.00   BROCCOLI, CHINESE               30#                   09/28/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1703092       100       8207            23    26.00       598.00   BROCCOLI, CROWNS                 20#                  09/28/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1703092       120       8218             2    41.00        82.00   BROCCOLLINI              18 CT.                       09/28/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1703092       490       8228             7    14.00        98.00   CABBAGE, GREEN                 45#                    09/28/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1703092       480       8231             4    16.00        64.00   CABBAGE, RED                 45#                      09/28/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1703092        40       8248             3    15.50        46.50   CARROT BABY W/ TOPS               24ct                09/28/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1703092        60       2708             2    36.00        72.00   CARROT BABY YELLOW W/ TOPS               1doz         09/28/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1703092        50       8276             1    21.00        21.00   CARROT RAINBOW CRUNCH                  25#            09/28/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1703092       110      10739             4    26.00       104.00   CAULIFLOWER, GREEN(BROCCO)             12-16ct.       09/28/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1703092       150       8294             2    23.00        46.00   CAULIFLOWER, PURPLE            12-16ct.               09/28/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1703092       170       8759             5    13.00        65.00   CHERVIL                  1#                           09/28/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1703092       500       8424            47    18.00       846.00   CUCUMBERS, EUROPEAN                12 CT.             09/28/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1703092       510       8433             4    23.20        92.80   DAIKON                40 LB                           09/28/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1703092       160       3687             2    16.00        32.00   EGGPLANT, JAPANESE                10#                 09/28/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1703092       180       8543             7    19.50       136.50   ENDIVE, BELGIUM               11#                     09/28/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1703092       380       8553             2    28.00        56.00   FIGS, BLACK MISSION           12/8oz                  09/28/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1703092       520       8599             7    56.10       392.70   GARLIC, WHOLE JUMBO WHITE              CASE           09/28/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1703092       650       8621            10    26.00       260.00   GRAPES, BLACK SEEDLESS LARGE              CASE        09/28/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1703092       540       8827             5     4.00        20.00   HEARTS OF PALM                 1#                     09/28/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1703092       390       8908             3    26.00        78.00   KIWI              39/42 CT.                           09/28/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1703092       450       8913             1    26.00        26.00   KOHLRABI                12 CT                         09/28/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1703092       230       8927             1    13.00        13.00   LEAVES- SHISO GREEN LEAVES           100CT PK         09/28/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1703092       660       8949             1    26.00        26.00   LEMONS, MEYERS                10 lb                   09/28/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1703092       530       8962            10    17.00       170.00   LETTUCE, BOSTON               24CT.                   09/28/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1703092       670       9021            15    24.00       360.00   LIMES               200 CT.                           09/28/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1703092       680       9037            90    10.00       900.00   MANGOS                 12 CT.                         09/28/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1703092       600       9092             1    30.00        30.00   MELONS, BITTER CHINESE              30LB              09/28/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1703092       210       9197             5    34.00       170.00   MUSHROOMS, HON SHIMEJII BROWN               3#        09/28/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1703092       220       9198             5    34.00       170.00   MUSHROOMS, HON SHIMEJII WHITE              3#         09/28/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1703092       190       9212            20    17.50       350.00   MUSHROOMS, PORTABELLA                   5#            09/28/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1703092       200       9227            20    19.00       380.00   MUSHROOMS, SHITAKE                  5#                09/28/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1703092       550       9382             9    31.00       279.00   PARSNIP                 20#                           09/28/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1703092       410       9384             3    46.00       138.00   PASSION FRUIT             18-26ct                     09/28/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1703092       690       9394             8    30.60       244.80   PEARS, BARTLETT             110 CT.                   09/28/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1703092       240       1557             1    50.00        50.00   PEAS, ENGLISH (IN THE POD)        30 LBS              09/28/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1703092       700       9440             5    26.00       130.00   PEAS, SNO                10#                          09/28/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1703092       260       9458             2    23.00        46.00   PEPPER, DRIED CHIPOLTE               5#               09/28/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1703092       560       9471            18    16.00       288.00   PEPPER, GREEN, CHOPPER               CASE             09/28/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1703092       250       9481             2     8.00        16.00   PEPPER, JALAPENO                10#                   09/28/19   PRODUCE




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 FREEDOM FRESH LLC
 CRYSTAL CRUISES - PRODUCE SALES REPORT
 FOR THE YEAR ENDED 2019

                                                                                     EXTENDED                                                        DELIVERY
           CUSTOMER          INVOICE NO.     LINE   PROD CODE   QUANTITY    PRICE                              PRODUCT DESCRIPTION                               CLASS
                                                                                     $ AMOUNT                                                          DATE
 CRYSTAL CRUISE - SYMPHONY     1703092       280      9524              1     8.00         8.00   PEPPER, SERRANO               10#                  09/28/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1703092       290       13               1    16.00        16.00   PEPPER, SHISHITO             10#                   09/28/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1703092       420      9548              3    36.00       108.00   PINEAPPLES GOLD, BABY         10-12ct.             09/28/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1703092       430      9563              1    26.00        26.00   POMEGRANATE                 CASE                   09/28/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1703092       570      9571             36    16.50       594.00   POTATO, IDAHO            100 CT.                   09/28/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1703092       580      9985              2    28.00        56.00   POTATO, RED B              50#                     09/28/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1703092       590      9683              1    29.00        29.00   RADISH, FRENCH. BREAKFAST          24ct.           09/28/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1703092       460      9740              2    54.00       108.00   SALSIFY            10#/CASE                        09/28/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1703092       300      9751             45    13.50       607.50   SPINACH            4/2.5#/CS.                      09/28/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1703092       140      9767              4    25.00       100.00   SPROUT, BRUSSEL               25#                  09/28/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1703092       470      9812              4    36.00       144.00   SUNCHOKES                20lb.                     09/28/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1703092       400      9822              2    31.00        62.00   TANGERINES              80 CT.                     09/28/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1703092       440      9819              2    31.00        62.00   TANGERINES              100 CT.                    09/28/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1703092       310      9833              1     8.00         8.00   TOMATILLO - PEELED             10#                 09/28/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1703092       610      9846             72    20.00     1,440.00   TOMATOES, 6X6              25#                     09/28/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1703092       330      9896              4    26.00       104.00   TOMATOES, YELLOW                10#                09/28/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1703092       320      9897              4    26.00       104.00   TOMATOES, YELLOW TEARDROP            12 CT.        09/28/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1703092       620      9902              7    26.00       182.00   TURNIPS                25#                         09/28/19   PRODUCE
                             1703092 Total                                            13,567.80
 CRYSTAL CRUISE - SYMPHONY     1703130        10      9142              6    49.50       297.00   CREAM CLOTTED              12/6 OZ                 09/28/19   PRODUCE
                             1703130 Total                                               297.00
 CRYSTAL CRUISE - SYMPHONY     1705655        10      9548              0    46.80          -     PINEAPPLES GOLD, BABY          10-12ct.            10/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1705655        20      9812              8    28.60       228.80   SUNCHOKES                 10lb.                    10/08/19   PRODUCE
                             1705655 Total                                               228.80
 CRYSTAL CRUISE - SYMPHONY     1708968        60      8561              4    56.00       224.00   FILTER BLANKET              EACH                   10/04/19   PRODUCE
                             1708968 Total                                               224.00
 CRYSTAL CRUISE - SYMPHONY     1709194        30      2004              1    77.80        77.80   ARTICHOKES, BABY               20#                 10/23/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1709194        40      8108             46    30.58     1,406.68   ASPARAGUS, GREEN, LARGE              LG/11#        10/23/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1709194       1070     8129             20    16.80       336.00   BANANAS, 3 COLOR                40#                10/23/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1709194       1080     8130             30    16.80       504.00   BANANAS, HALF RIPE               CS                10/23/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1709194       170      8654             20     6.50       130.00   BASIL                1#                            10/23/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1709194       1220     8138              2    29.80        59.60   BEANS, CHINESE LONG                10#             10/23/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1709194        20      8151              0    64.90          -     BEANS, SEA                5#                       10/23/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1709194       700      8158             11    13.50       148.50   BEETS, CUT               25#                       10/23/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1709194       560      8165             12    23.60       283.20   BERRIES,BLACK             12/6oz                   10/23/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1709194       590      8178              1    39.30        39.30   BERRIES,GOOSE             12/6oz.                  10/23/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1709194       970      8200              2    26.00        52.00   BONIATO                40#                         10/23/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1709194       130      8206              1    63.00        63.00   BROCCOLI, CHINESE               30#                10/23/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1709194       690      8206              1   145.80       145.80   BROCCOLI, CHINESE               30#                10/23/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1709194       110      8207             28    28.16       788.48   BROCCOLI, CROWNS                  20#              10/23/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1709194       120      8218              3    38.40       115.20   BROCCOLLINI             18 CT.                     10/23/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1709194       1060     8220              1    46.80        46.80   BURDOCK ROOT                 CASE                  10/23/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1709194       710      8196              9    28.80       259.20   CABBAGE, BOKCHOY                  30#              10/23/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1709194       730      8231              3    23.00        69.00   CABBAGE, RED                45#                    10/23/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1709194       1210     8243              7    15.50       108.50   CABBAGE, WHITE                BAG                  10/23/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1709194        60      1709              3    30.24        90.72   CARROT BABY MIXED W/ TOPS              12ct.       10/23/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1709194        70      2708              0    46.80          -     CARROT BABY YELLOW W/ TOPS               1doz      10/23/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1709194       740      8264             40    19.00       760.00   CARROT JUMBO                  50#                  10/23/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1709194       150      8286             23    32.48       747.04   CAULIFLOWER               12 CT.                   10/23/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1709194       140      1296              1    42.80        42.80   CAULIFLOWER, ROMANESCO (LG)            12/16 CT    10/23/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1709194       180      8655              3    18.80        56.40   CHERVIL HARVEST SENSATION                1#        10/23/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1709194       160      9988             15     8.50       127.50   CHIVES                 1#                          10/23/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1709194       1090     8395              1    32.40        32.40   COCONUT                  BAG                       10/23/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1709194       770      8432              6    19.00       114.00   CUCUMBERS                SELECT                    10/23/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1709194       780      8433              4    22.00        88.00   DAIKON               40 LB                         10/23/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1709194       190      8659             10     5.50        55.00   DILL                1#                             10/23/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1709194       680      1622              2    49.80        99.60   DRAGON FRUIT- RED                10#               10/23/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1709194       280      8544              1    39.12        39.12   ENDIVE, RED BELGIUM               6#               10/23/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1709194       600      8553              2    58.08       116.16   FIGS, BLACK MISSION          12/8oz                10/23/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1709194       810      8599             10    50.40       504.00   GARLIC, WHOLE JUMBO WHITE               CASE       10/23/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1709194       820      8603              6    33.60       201.60   GINGER ROOT                 30#                    10/23/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1709194       1100     9968             40    22.80       912.00   GRAPEFRUIT              36 CT.                     10/23/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1709194       1230     8826              1    23.40        23.40   HORSERADISH                  5#                    10/23/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1709194       720      8901              1    29.75        29.75   KALE, GREEN             24 CT.                     10/23/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1709194       610      8909              2    29.60        59.20   KIWI             VOLUME FIL                        10/23/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1709194       260      9989              8     3.50        28.00   LEMONGRASS                   1#                    10/23/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1709194       1110     8941             35    38.80     1,358.00   LEMONS, FANCY             165 CT.                  10/23/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1709194       300      9987             24    13.50       324.00   LETTUCE, BABY LOLLA ROSA              2lb.         10/23/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1709194       310      8955             30    14.52       435.60   LETTUCE, BABY RED OAK               2lb            10/23/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1709194       850      8962             12    19.60       235.20   LETTUCE, BOSTON               24CT.                10/23/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1709194       290      8971             20    15.54       310.80   LETTUCE, FRISSEE              3lb.                 10/23/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1709194       860      8979             16    28.00       448.00   LETTUCE, ICEBERG             24 CT.                10/23/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1709194       330      8992              3    26.00        78.00   LETTUCE, RED LEAF            24 CT.                10/23/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1709194       870      8998             20    28.00       560.00   LETTUCE, ROMAINE             24 CT.                10/23/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1709194       340      8999              2    33.60        67.20   LETTUCE, ROMAINE HEARTS              48 CT.        10/23/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1709194       800      9026              0    68.90          -     LOTUSROOT                  10#                     10/23/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1709194       1000     9092              1    25.60        25.60   MELONS, BITTER CHINESE              30LB           10/23/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1709194        10      9137              2    32.80        65.60   MICRO GREENS- SAKURA MIX CRESS             16 CT   10/23/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1709194       350      9166              8    14.90       119.20   MUSHROOMS, CRIMINI                 5#              10/23/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1709194       360      9169              4    16.50        66.00   MUSHROOMS, ENOKI               6/7 OZ              10/23/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1709194       390      9197              5    23.40       117.00   MUSHROOMS, HON SHIMEJII BROWN                3#    10/23/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1709194       400      9198              5    23.40       117.00   MUSHROOMS, HON SHIMEJII WHITE               3#     10/23/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1709194       370      9223              5    29.04       145.20   MUSHROOMS, ROYAL TRUMPET (KING OYSTER) 3#          10/23/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1709194       420      9276              1    28.35        28.35   OKRA                 15#                           10/23/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1709194       490      9287              7    29.70       207.90   ONIONS, GREEN               48's                   10/23/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1709194       900      9309              4    13.50        54.00   ONIONS, RED, MEDIUM               25#              10/23/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1709194       880      9317              2    27.00        54.00   ONIONS, WHITE, JUMBO               50#             10/23/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1709194       910      9337             52    17.50       910.00   ONIONS, YELLOW, MEDIUM               50#           10/23/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1709194       1160     9341            150    19.20     2,880.00   ORANGES               125 CT.                      10/23/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1709194       1170     9374             70    13.80       966.00   PAPAYA, BRAZILIAN           10 CT.                 10/23/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1709194       430      8753              5    23.60       118.00   PARSLEY ITALIAN           60 CT.                   10/23/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1709194       640      9384              3    48.10       144.30   PASSION FRUIT           18-26ct                    10/23/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1709194       630      9388              3    49.00       147.00   PEACH, VOLUME FILL              22#                10/23/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1709194       1180     1204              7    35.10       245.70   PEARS, BARTLETT            120 CT.                 10/23/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1709194       440      9440              1    23.80        23.80   PEAS, SNO               10#                        10/23/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1709194       1200     9443              1    26.80        26.80   PEAS, SUGAR SNAP                10#                10/23/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1709194       920      9471             26    17.00       442.00   PEPPER, GREEN, CHOPPER                CASE         10/23/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1709194       450      9498              2    18.04        36.08   PEPPER, ORANGE GOURMET                  11#        10/23/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1709194       650      9548              0    56.80          -     PINEAPPLES GOLD, BABY           10-12ct.           10/23/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1709194       1190     9549             78    15.12     1,179.36   PINEAPPLES GOLD, CROWNLESS               10 CT     10/23/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1709194       960      9612              2    60.00       120.00   POTATO, WHITE C               50#                  10/23/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1709194       980      9690              1    26.00        26.00   RADISH, RED              40#                       10/23/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1709194       660      9696              6    28.00       168.00   RAMBUTAN                 5 lb                      10/23/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1709194       220      9992              8     8.50        68.00   ROSEMARY                  1#                       10/23/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1709194       1040     9698              3    35.00       105.00   RUTABAGAS                 50#                      10/23/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1709194       230      8695              1    10.50        10.50   SAGE                  1#                           10/23/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1709194        90      9782              3    19.80        59.40   SQUASH, BABY ZUCCHINI               5#             10/23/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1709194       510      1670              1    27.20        27.20   SQUASH, CHAYOTE WHITE                 40#          10/23/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1709194       1050     9795              1    38.40        38.40   SQUASH, KABOCHA                40lb.               10/23/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1709194       670      9807              2    36.48        72.96   STARFRUIT              25 CT.                      10/23/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1709194        80      9812              1    39.80        39.80   SUNCHOKES                10lb.                     10/23/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1709194       240      8696              4     8.50        34.00   TARRAGON                  1#                       10/23/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1709194       250      8698              8     7.50        60.00   THYME                  1#                          10/23/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1709194       1010     9848             40    24.00       960.00   TOMATOES, 6X7 #4              25#                  10/23/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1709194       1020     9849             24    24.00       576.00   TOMATOES, 6X7 #5              25#                  10/23/19   PRODUCE




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 FREEDOM FRESH LLC
 CRYSTAL CRUISES - PRODUCE SALES REPORT
 FOR THE YEAR ENDED 2019

                                                                                     EXTENDED                                                       DELIVERY
           CUSTOMER          INVOICE NO.     LINE   PROD CODE   QUANTITY    PRICE                              PRODUCT DESCRIPTION                              CLASS
                                                                                     $ AMOUNT                                                         DATE
 CRYSTAL CRUISE - SYMPHONY     1709194       520      2254             10    16.80       168.00   TOMATOES, CHERRY (SHIPS)   12/1pt.                10/23/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1709194       530      9856              2    23.80        47.60   TOMATOES, HEIRLOOM ASSORTED        10#            10/23/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1709194       550      9896              2    28.60        57.20   TOMATOES, YELLOW          10#                     10/23/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1709194       1030     9902              6    18.00       108.00   TURNIPS              25#                          10/23/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1709194       1140     9914             25    31.20       780.00   WATERMELON, SEEDLESS, 6'S     CASE                10/23/19   PRODUCE
                             1709194 Total                                            24,221.50
 CRYSTAL CRUISE - SYMPHONY     1712410       630      8035              5    32.80       164.00   APPLES, GOLDEN             125 CT.                11/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1712410        40      2004              2    56.80       113.60   ARTICHOKES, BABY               20#                11/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1712410        50      8108             18    22.90       412.20   ASPARAGUS, GREEN, LARGE             LG/11#        11/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1712410       640      8119             16    44.50       712.00   AVOCADOS, FRESH                 CS                11/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1712410        70      8138              2    23.40        46.80   BEANS, CHINESE LONG               10#             11/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1712410       420      8158              8    11.50        92.00   BEETS, CUT               25#                      11/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1712410       330      8182             20    28.80       576.00   BERRIES,RASP, DRISCOLL           12/6oz           11/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1712410        80      8203              3    34.60       103.80   BROCCOLI               14 CT.                     11/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1712410        90      8206              1    48.80        48.80   BROCCOLI, CHINESE               30#               11/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1712410       410      8206              1    46.80        46.80   BROCCOLI, CHINESE               30#               11/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1712410       430      8231              3    17.50        52.50   CABBAGE, RED                45#                   11/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1712410       440      8243              6    13.50        81.00   CABBAGE, WHITE                BAG                 11/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1712410       450      8264             34    16.50       561.00   CARROT JUMBO                  50#                 11/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1712410       460      8301              5    27.60       138.00   CELERY                30 CT.                      11/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1712410       100      2030              3    26.80        80.40   CILANTRO, CALIFORNIA           60 CT.             11/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1712410       470      8432              3    14.00        42.00   CUCUMBERS                 SELECT                  11/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1712410       480      8433              4    18.80        75.20   DAIKON                40 LB                       11/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1712410       390      1622              2    36.80        73.60   DRAGON FRUIT- RED               10#               11/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1712410       490      8533             16    14.50       232.00   EGGPLANT, FANCY            1-1/9 BU               11/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1712410       340      8553              2    56.00       112.00   FIGS, BLACK MISSION          12/8oz               11/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1712410       650      9968             35    20.80       728.00   GRAPEFRUIT               36 CT.                   11/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1712410       660      8629             25    27.60       690.00   GRAPES, GREEN SEEDLESS LARGE              CASE    11/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1712410       670      8638             23    24.60       565.80   GRAPES, RED SEEDLESS LARGE              CASE      11/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1712410       160      8921              1    39.80        39.80   LEAVES- KEIFER LIME             1#                11/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1712410       230      8927              4    18.60        74.40   LEAVES- SHISO GREEN LEAVES          50CT PKG      11/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1712410       500      8929              9    24.80       223.20   LEEKS               12 Bunch                      11/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1712410       130      9989             10     3.25        32.50   LEMONGRASS                   1#                   11/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1712410       680      8949              1    29.60        29.60   LEMONS, MEYERS               10 lb                11/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1712410       140      9987             15    10.50       157.50   LETTUCE, BABY LOLLA ROSA             2lb.         11/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1712410       150      8955             15    10.50       157.50   LETTUCE, BABY RED OAK              2lb            11/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1712410       510      8962             10    22.80       228.00   LETTUCE, BOSTON               24CT.               11/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1712410       690      9037             60    10.50       630.00   MANGOS                 12 CT.                     11/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1712410       700      9094             33    22.80       752.40   MELONS, CANTALOUPE               15 CT.           11/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1712410       710      9109             44    19.50       858.00   MELONS, HONEYDEW                8 CT.             11/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1712410       110      1272              2    16.80        33.60   MICRO GREENS- MINT           4 OZ PKG             11/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1712410       250      1353              2    22.40        44.80   MICRO GREENS- PARSLEY            8 OZ PKG         11/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1712410        10      9137              1    48.80        48.80   MICRO GREENS- SAKURA MIX CRESS            16 CT   11/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1712410       220      1730             42    16.50       693.00   MUSHROOMS, FANCY(SHIPS)               10#         11/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1712410       200      9197              5    26.90       134.50   MUSHROOMS, HON SHIMEJII BROWN               3#    11/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1712410       210      9198              5    26.90       134.50   MUSHROOMS, HON SHIMEJII WHITE              3#     11/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1712410       180      9208             12    22.30       267.60   MUSHROOMS, OYSTER                   5#            11/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1712410       170      9223              4    18.90        75.60   MUSHROOMS, ROYAL TRUMPET (KING OYSTER) 3#         11/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1712410       350      9253              0    32.75          -     NECTARINES, VOLUME FILL             22#           11/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1712410       260      9287             10    18.50       185.00   ONIONS, GREEN               48's                  11/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1712410       530      9309              8    13.50       108.00   ONIONS, RED, MEDIUM              25#              11/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1712410       520      9317              2    22.50        45.00   ONIONS, WHITE, JUMBO              50#             11/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1712410       550      9336             36    17.50       630.00   ONIONS, YELLOW, JUMBO               50#           11/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1712410       720      9340            160    19.80     3,168.00   ORANGES                100 CT.                    11/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1712410       730      9374             60    12.50       750.00   PAPAYA, BRAZILIAN           10 CT.                11/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1712410       240      8753              5    22.80       114.00   PARSLEY ITALIAN            60 CT.                 11/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1712410       360      9384              4    48.60       194.40   PASSION FRUIT            18-26ct                  11/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1712410       740      9394              3    33.50       100.50   PEARS, BARTLETT            110 CT.                11/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1712410       370      9548              2    64.00       128.00   PINEAPPLES GOLD, BABY          10-12ct.           11/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1712410       750      9549             42    13.80       579.60   PINEAPPLES GOLD, CROWNLESS              10 CT     11/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1712410       310      9551              1    33.50        33.50   PLANTAINS GREEN                50#                11/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1712410       560      9571             20    22.50       450.00   POTATO, IDAHO             100 CT.                 11/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1712410       570      9618             28    18.50       518.00   POTATO, YUKON GOLD A               50#            11/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1712410       600      9683              1    32.40        32.40   RADISH, FRENCH. BREAKFAST            12ct.        11/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1712410       590      9690              1    24.40        24.40   RADISH, RED               40#                     11/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1712410       540      2743              3    38.80       116.40   SHALLOTS, WHOLE             8/5# BAG              11/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1712410        60      9763              1     8.50         8.50   SPROUT, BEAN             5#/CASE                  11/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1712410       120      9777              3    16.80        50.40   SPROUT, YELLOW PEA SHOOT               8 OZ       11/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1712410       580      9790              4    16.80        67.20   SQUASH, CALABAZA               35lb               11/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1712410       400      9812              5    24.60       123.00   SUNCHOKES                 10lb.                   11/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1712410       380      9820              1    38.60        38.60   TANGERINES              120 CT.                   11/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1712410       290      2992              1    16.80        16.80   TOMATILLO - W/ HUSK             10#               11/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1712410       610      9846             40    17.50       700.00   TOMATOES, 6X6                25#                  11/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1712410       270      2254             10    14.50       145.00   TOMATOES, CHERRY (SHIPS)           12/1pt.        11/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1712410       280      9863              2    16.50        33.00   TOMATOES, PLUM                25 #                11/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1712410       620      9902              6    14.50        87.00   TURNIPS                 25#                       11/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1712410       300      1739              4    16.80        67.20   WATERCRESS, FOODSERVICE               2/1.5#      11/08/19   PRODUCE
                             1712410 Total                                            18,876.70
 CRYSTAL CRUISE - SYMPHONY     1714317        10      9341             38    19.60       744.80   ORANGES                 125 CT.                   11/08/19   PRODUCE
                             1714317 Total                                               744.80
 CRYSTAL CRUISE - SYMPHONY     1715502        10      2827              2    28.50        57.00   ORGANIC CARROT RAINBOW BUNCHED           24ct.    11/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1715502        30      9696              4    16.60        66.40   RAMBUTAN             5 lb                         11/08/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1715502        20      9802              2    17.80        35.60   SQUASH, YELLOW FANCY       CASE                   11/08/19   PRODUCE
                             1715502 Total                                               159.00
 CRYSTAL CRUISE - SYMPHONY     1717005       570      7985              3    32.80        98.40   ANISE, (FENNEL)          36 CT.                   11/17/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1717005       300      8035              4    32.80       131.20   APPLES, GOLDEN            125 CT.                 11/17/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1717005       440      8102              8    42.00       336.00   ARTICHOKES              24 CT.                    11/17/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1717005       310      8129             20    14.80       296.00   BANANAS, 3 COLOR             40#                  11/17/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1717005       320      8131             20    14.80       296.00   BANANAS, 5 COLOR             40#                  11/17/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1717005       580      8654             20     6.50       130.00   BASIL                1#                           11/17/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1717005       490      8138              2    28.90        57.80   BEANS, CHINESE LONG             10#               11/17/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1717005       500      8148              3    38.00       114.00   BEANS, GREEN              CASE                    11/17/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1717005        10      8158              6    10.50        63.00   BEETS, CUT              25#                       11/17/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1717005       870      2040             24    21.90       525.60   BERRIES,BLUE            12/6oz                    11/17/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1717005       520      8207             19    26.18       497.42   BROCCOLI, CROWNS               20#                11/17/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1717005        20      8196              5    23.40       117.00   CABBAGE, BOKCHOY               30#                11/17/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1717005       510      8197              4    33.90       135.60   CABBAGE, BOKCHOY BABY              30#            11/17/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1717005        30      8231              3    19.00        57.00   CABBAGE, RED               45#                    11/17/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1717005        40      8243              6    13.50        81.00   CABBAGE, WHITE              BAG                   11/17/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1717005       460      2708              0    31.90          -     CARROT BABY YELLOW W/ TOPS            1doz        11/17/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1717005        50      8264             30    15.50       465.00   CARROT JUMBO                50#                   11/17/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1717005       450      8276              1    42.00        42.00   CARROT RAINBOW CRUNCH               25#           11/17/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1717005       540      8294              1    50.70        50.70   CAULIFLOWER, PURPLE          12-16ct.             11/17/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1717005       530      1296              1    49.50        49.50   CAULIFLOWER, ROMANESCO (LG)         12/16 CT      11/17/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1717005        70      8301              6    24.00       144.00   CELERY               30 CT.                       11/17/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1717005        60      8300              8    21.00       168.00   CELERY KNOB               12ct                    11/17/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1717005       550      9988             15     8.50       127.50   CHIVES                1#                          11/17/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1717005       590      2030              2    57.60       115.20   CILANTRO, CALIFORNIA         60 CT.               11/17/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1717005        80      8432              4    14.50        58.00   CUCUMBERS               SELECT                    11/17/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1717005        90      8424             40    13.60       544.00   CUCUMBERS, EUROPEAN              12 CT.           11/17/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1717005       100      8433              4    27.20       108.80   DAIKON               40 LB                        11/17/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1717005       560      3687              2    38.90        77.80   EGGPLANT, JAPANESE              10#               11/17/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1717005       670      8543              3    26.18        78.54   ENDIVE, BELGIUM             11#                   11/17/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1717005       110      8599              4    48.60       194.40   GARLIC, WHOLE JUMBO WHITE           CASE          11/17/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1717005       120      8603              2    29.40        58.80   GINGER ROOT               30#                     11/17/19   PRODUCE




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 FREEDOM FRESH LLC
 CRYSTAL CRUISES - PRODUCE SALES REPORT
 FOR THE YEAR ENDED 2019

                                                                                     EXTENDED                                                      DELIVERY
           CUSTOMER          INVOICE NO.     LINE   PROD CODE   QUANTITY    PRICE                              PRODUCT DESCRIPTION                             CLASS
                                                                                     $ AMOUNT                                                        DATE
 CRYSTAL CRUISE - SYMPHONY     1717005       330      9968             23    16.80       386.40   GRAPEFRUIT              36 CT.                   11/17/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1717005       340      8621              6    28.44       170.64   GRAPES, BLACK SEEDLESS LARGE              CASE   11/17/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1717005       350      8629             23    28.08       645.84   GRAPES, GREEN SEEDLESS LARGE              CASE   11/17/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1717005       360      8638             23    24.84       571.32   GRAPES, RED SEEDLESS LARGE              CASE     11/17/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1717005       130      8824              1    39.80        39.80   HORSERADISH                 10#                  11/17/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1717005       880      8909              2    23.20        46.40   KIWI             VOLUME FIL                      11/17/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1717005       660      9989             10     3.25        32.50   LEMONGRASS                   1#                  11/17/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1717005       690      9987             17    10.50       178.50   LETTUCE, BABY LOLLA ROSA             2lb.        11/17/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1717005       700      8955             17    10.50       178.50   LETTUCE, BABY RED OAK              2lb           11/17/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1717005       140      8962              8    21.00       168.00   LETTUCE, BOSTON              24CT.               11/17/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1717005       680      8971             20    12.84       256.80   LETTUCE, FRISSEE             3lb.                11/17/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1717005       720      8992              3    26.25        78.75   LETTUCE, RED LEAF            24 CT.              11/17/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1717005       150      8998             12    28.80       345.60   LETTUCE, ROMAINE             24 CT.              11/17/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1717005       370      9037             60     9.50       570.00   MANGOS                12 CT.                     11/17/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1717005       250      9092              1    32.40        32.40   MELONS, BITTER CHINESE             30LB          11/17/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1717005       380      9098             20    22.00       440.00   MELONS, CANTALOUPE JUMBO               9 CT.     11/17/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1717005       600      1798              4    24.40        97.60   MICRO GREENS- CILANTRO           8 OZ PKG        11/17/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1717005       620      1272              8    12.20        97.60   MICRO GREENS- MINT           4 OZ PKG            11/17/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1717005       730      9166              4    11.50        46.00   MUSHROOMS, CRIMINI                5#             11/17/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1717005       750      1730             35    15.80       553.00   MUSHROOMS, FANCY(SHIPS)               10#        11/17/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1717005       740      9208             10    24.90       249.00   MUSHROOMS, OYSTER                   5#           11/17/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1717005       170      9309              8    14.50       116.00   ONIONS, RED, MEDIUM             25#              11/17/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1717005       160      9317              2    24.00        48.00   ONIONS, WHITE, JUMBO             50#             11/17/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1717005       190      9336             24    18.50       444.00   ONIONS, YELLOW, JUMBO               50#          11/17/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1717005       400      9341            100    15.20     1,520.00   ORANGES               125 CT.                    11/17/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1717005       900      9342              1    56.00        56.00   ORANGES, BLOOD 44ct/88ct          18lb.          11/17/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1717005       760      8753              4    25.60       102.40   PARSLEY ITALIAN            60 CT.                11/17/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1717005       410      1204              3    34.20       102.60   PEARS, BARTLETT            120 CT.               11/17/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1717005       770      9440              1    28.90        28.90   PEAS, SNO               10#                      11/17/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1717005       800      1746              1    55.00        55.00   PEPPER, GREEN THAI             10lb              11/17/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1717005       200      9471             18    14.50       261.00   PEPPER, GREEN, CHOPPER               CASE        11/17/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1717005       780      9481              1    12.40        12.40   PEPPER, JALAPENO               10#               11/17/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1717005       790      9524              1    16.80        16.80   PEPPER, SERRANO                10#               11/17/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1717005       910      9548              0    55.60          -     PINEAPPLES GOLD, BABY          10-12ct.          11/17/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1717005       420      9549             42    14.04       589.68   PINEAPPLES GOLD, CROWNLESS              10 CT    11/17/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1717005       230      9985              1    24.00        24.00   POTATO, RED B               50#                  11/17/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1717005       210      1498             28    19.50       546.00   POTATO, RUSSET             100 CT.               11/17/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1717005       220      9618             30    18.50       555.00   POTATO, YUKON GOLD A               50#           11/17/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1717005       240      9690              1    28.80        28.80   RADISH, RED               40#                    11/17/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1717005       630      9992              5     6.50        32.50   ROSEMARY                   1#                    11/17/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1717005       290      9698              3    29.00        87.00   RUTABAGAS                  50#                   11/17/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1717005       640      8695              3     8.00        24.00   SAGE                  1#                         11/17/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1717005       180      2743              2    44.00        88.00   SHALLOTS, WHOLE             8/5# BAG             11/17/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1717005       810      9751             35    18.60       651.00   SPINACH            4/2.5#/CS.                    11/17/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1717005       480      9763              1     8.00         8.00   SPROUT, BEAN             5#/CASE                 11/17/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1717005       470      9781              0    22.00          -     SQUASH, BABY SUNBURST                 5#         11/17/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1717005       830      1670              1    22.40        22.40   SQUASH, CHAYOTE WHITE                40#         11/17/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1717005       820      9803              2    15.80        31.60   SQUASH, YELLOW MEDIUM                C/S         11/17/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1717005       920      9820              1    24.80        24.80   TANGERINES              120 CT.                  11/17/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1717005       650      8696              3     8.50        25.50   TARRAGON                   1#                    11/17/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1717005       270      9848             36    16.50       594.00   TOMATOES, 6X7 #4              25#                11/17/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1717005       840      2254             12    14.80       177.60   TOMATOES, CHERRY (SHIPS)           12/1pt.       11/17/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1717005       850      9863              3    24.50        73.50   TOMATOES, PLUM                25 #               11/17/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1717005       860      9896              2    34.80        69.60   TOMATOES, YELLOW                10#              11/17/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1717005       280      9902              4    16.00        64.00   TURNIPS                25#                       11/17/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1717005       390      9921             25    26.40       660.00   WATERMELON, SEEDLESS, 5'S             CASE       11/17/19   PRODUCE
                             1717005 Total                                            17,542.99
 CRYSTAL CRUISE - SYMPHONY     1718448       440      8022              4    28.80       115.20   APPLES, GALA            125 CT.                  11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718448       460      8035              4    32.00       128.00   APPLES, GOLDEN            125 CT.                11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718448       450      8048              3    28.00        84.00   APPLES, GRANNY SMITH           125 CT.           11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718448       470      8081              3    26.80        80.40   APPLES, RED            125 CT.                   11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718448       480      8119             10    48.50       485.00   AVOCADOS, FRESH                CS                11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718448       490      8129             10    14.40       144.00   BANANAS, 3 COLOR              40#                11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718448       500      8130             20    14.40       288.00   BANANAS, HALF RIPE              CS               11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718448        10      8158              6    10.50        63.00   BEETS, CUT               25#                     11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718448        20      8196              5    23.40       117.00   CABBAGE, BOKCHOY                30#              11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718448        30      9249              6    24.60       147.60   CABBAGE, NAPPA               30#                 11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718448        40      8231              2    17.50        35.00   CABBAGE, RED               45#                   11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718448        50      8243              3    13.00        39.00   CABBAGE, WHITE               BAG                 11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718448        60      8264             20    14.50       290.00   CARROT JUMBO                 50#                 11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718448        80      8301              5    27.60       138.00   CELERY               30 CT.                      11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718448        70      8300              6    21.00       126.00   CELERY KNOB               12ct                   11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718448        90      8432              5    14.50        72.50   CUCUMBERS                SELECT                  11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718448       100      8424             20    13.80       276.00   CUCUMBERS, EUROPEAN               12 CT.         11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718448       110      8433              3    18.00        54.00   DAIKON               40 LB                       11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718448       120      8533             14    14.50       203.00   EGGPLANT, FANCY           1-1/9 BU               11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718448       140      8599              7    50.40       352.80   GARLIC, WHOLE JUMBO WHITE            CASE        11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718448       150      8603              4    28.80       115.20   GINGER ROOT                30#                   11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718448       510      9968             23    15.60       358.80   GRAPEFRUIT              36 CT.                   11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718448       530      8629             23    19.34       444.82   GRAPES, GREEN SEEDLESS LARGE             CASE    11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718448       540      8638             17    24.48       416.16   GRAPES, RED SEEDLESS LARGE             CASE      11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718448       160      8824              0    39.80          -     HORSERADISH                10#                   11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718448       170      8929              9    29.60       266.40   LEEKS              12 Bunch                      11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718448       550      8940             28    39.20     1,097.60   LEMONS, CHOICE            165 CT.                11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718448       180      8962             10    25.60       256.00   LETTUCE, BOSTON              24CT.               11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718448       190      8979              7    34.00       238.00   LETTUCE, ICEBERG            24 CT.               11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718448       200      8998             10    29.60       296.00   LETTUCE, ROMAINE            24 CT.               11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718448       560      9021             10    27.20       272.00   LIMES              200 CT.                       11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718448       130      9026              1    46.90        46.90   LOTUSROOT                 10#                    11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718448       570      9037             60     9.50       570.00   MANGOS                12 CT.                     11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718448       400      9092              1    48.60        48.60   MELONS, BITTER CHINESE            30LB           11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718448       590      9098             15    15.20       228.00   MELONS, CANTALOUPE JUMBO             9 CT.       11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718448       600      9109             40    12.75       510.00   MELONS, HONEYDEW               8 CT.             11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718448       220      9309              8    13.50       108.00   ONIONS, RED, MEDIUM             25#              11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718448       210      9317              2    24.00        48.00   ONIONS, WHITE, JUMBO             50#             11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718448       240      9336             24    16.50       396.00   ONIONS, YELLOW, JUMBO              50#           11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718448       630      9341             98    14.00     1,372.00   ORANGES               125 CT.                    11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718448       620      9360             20    28.80       576.00   ORANGES, CALIFORNIA            88 CT.            11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718448       640      9375             45    12.50       562.50   PAPAYA, BRAZILIAN          12 CT.                11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718448       250      9382              5    28.00       140.00   PARSNIP                20#                       11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718448       650      1204              4    29.25       117.00   PEARS, BARTLETT           120 CT.                11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718448       260      9471             16    15.50       248.00   PEPPER, GREEN, CHOPPER              CASE         11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718448       270      9513              4    29.00       116.00   PEPPER, RED               25#                    11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718448       660      9549             40    13.68       547.20   PINEAPPLES GOLD, CROWNLESS             10 CT     11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718448       340      9570              1    56.50        56.50   POTATO, FINGERLING WHITE            50#          11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718448       330      9590              1    57.50        57.50   POTATO, PURPLE A              50#                11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718448       310      9985              1    22.00        22.00   POTATO, RED B              50#                   11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718448       280      1498             22    19.00       418.00   POTATO, RUSSET            100 CT.                11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718448       320      9612              1    55.00        55.00   POTATO, WHITE C              50#                 11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718448       290      9618             22    18.50       407.00   POTATO, YUKON GOLD A              50#            11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718448       370      9683              1    28.35        28.35   RADISH, FRENCH. BREAKFAST           12ct.        11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718448       360      9690              1    28.80        28.80   RADISH, RED              40#                     11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718448       430      9698              3    29.00        87.00   RUTABAGAS                 50#                    11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718448       230      9747              3    48.00       144.00   SHALLOTS, PEELED              4/5#               11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718448       380      9787              6    22.05       132.30   SQUASH, BUTTERNUT             18-22ct            11/24/19   PRODUCE




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 FREEDOM FRESH LLC
 CRYSTAL CRUISES - PRODUCE SALES REPORT
 FOR THE YEAR ENDED 2019

                                                                                     EXTENDED                                                          DELIVERY
            CUSTOMER         INVOICE NO.     LINE   PROD CODE   QUANTITY    PRICE                              PRODUCT DESCRIPTION                                 CLASS
                                                                                     $ AMOUNT                                                            DATE
 CRYSTAL CRUISE - SYMPHONY     1718448       350      9790              3    24.80        74.40   SQUASH, CALABAZA           35lb                      11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718448       390      9806             17    15.00       255.00   SQUASH, ZUCCHINI MD         CASE                     11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718448       410      9846             40    16.50       660.00   TOMATOES, 6X6            25#                         11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718448       420      9902              5    17.25        86.25   TURNIPS              25#                             11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718448       610      9921             27    25.20       680.40   WATERMELON, SEEDLESS, 5'S       CASE                 11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718448       300      9938              8    22.00       176.00   YAMS, JUMBO(25-35ct)       40#                       11/24/19   PRODUCE
                             1718448 Total                                            16,002.18
 CRYSTAL CRUISE - SYMPHONY     1718452       320       7985             3    34.40       103.20   ANISE, (FENNEL)            36 CT.                    11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718452        60       8102             7    42.00       294.00   ARTICHOKES                24 CT.                     11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718452        70       2004             0    49.20          -     ARTICHOKES, BABY                20#                  11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718452       470       8733            17    17.04       289.68   ARUGULA, BABY             2/1.5 LB                   11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718452        80       8108            11    30.58       336.38   ASPARAGUS, GREEN, LARGE                LG/11#        11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718452        90       8114            17    27.28       463.76   ASPARAGUS, WHITE                 11#                 11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718452       340       8654            15     5.00        75.00   BASIL                 1#                             11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718452       160       8138             2    26.80        53.60   BEANS, CHINESE LONG                10#               11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718452       170       8148             3    42.00       126.00   BEANS, GREEN                 CASE                    11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718452       190       8160             2    26.90        53.80   BEETS, GOLD, BABY              12CT                  11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718452       200       8164             2    26.10        52.20   BEETS, RED BABY W/TOPS               12CT            11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718452       950       8165             8    28.00       224.00   BERRIES,BLACK               12/6oz                   11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718452       970       2040            24    23.40       561.60   BERRIES,BLUE              12/6oz                     11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718452       990       8182            12    32.50       390.00   BERRIES,RASP, DRISCOLL            12/6oz             11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718452       1000      8194            57    28.00     1,596.00   BERRIES,STRAW                 8/1#                   11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718452       240       8206             1    59.40        59.40   BROCCOLI, CHINESE                30#                 11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718452       210       8207            19    25.08       476.52   BROCCOLI, CROWNS                  20#                11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718452       230       8218             2    39.60        79.20   BROCCOLLINI              18 CT.                      11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718452       180       8197             3    32.40        97.20   CABBAGE, BOKCHOY BABY                   30#          11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718452       100       8247             2    23.40        46.80   CARROT 1" TOP PEELED                 5#              11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718452       120       2708             1    24.90        24.90   CARROT BABY YELLOW W/ TOPS                 1doz      11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718452       110       8276             1   122.25       122.25   CARROT RAINBOW CRUNCH                     25#        11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718452       270       8286            15    27.44       411.60   CAULIFLOWER                12 CT.                    11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718452       220      10739             1    65.60        65.60   CAULIFLOWER, GREEN(BROCCO)               12-16ct.    11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718452       280       8294             1    45.92        45.92   CAULIFLOWER, PURPLE             12-16ct.             11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718452       250       1296             1    47.25        47.25   CAULIFLOWER, ROMANESCO (LG)              12/16 CT    11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718452       370       8759             3    18.80        56.40   CHERVIL                  1#                          11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718452       290       9988            10     8.50        85.00   CHIVES                  1#                           11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718452       350       2030             2    53.60       107.20   CILANTRO, CALIFORNIA            60 CT.               11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718452       300       8419             3    22.00        66.00   CORN, YELLOW FANCY             48-60 CT.             11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718452       380       8712             1    29.80        29.80   DILL               24 CT.                            11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718452       1130      1622             2    38.90        77.80   DRAGON FRUIT- RED                10#                 11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718452       310       3687             2    23.60        47.20   EGGPLANT, JAPANESE                  10#              11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718452       490       8543             3    26.29        78.87   ENDIVE, BELGIUM               11#                    11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718452       480       8544             4    37.80       151.20   ENDIVE, RED BELGIUM                6#                11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718452       1010      8553             1    56.28        56.28   FIGS, BLACK MISSION           12/8oz                 11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718452       1020      8909             2    23.00        46.00   KIWI             VOLUME FIL                          11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718452       1140      8913             1    33.60        33.60   KOHLRABI                12 CT                        11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718452       650       8927             2    16.98        33.96   LEAVES- SHISO GREEN LEAVES            50CT PKG       11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718452       460       9989            10     3.25        32.50   LEMONGRASS                    1#                     11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718452       510       9987            17    11.67       198.39   LETTUCE, BABY LOLLA ROSA               2lb.          11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718452       520       8955            17    11.67       198.39   LETTUCE, BABY RED OAK                2lb             11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718452       500       8971            17    12.84       218.28   LETTUCE, FRISSEE               3lb.                  11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718452       540       8992             4    31.50       126.00   LETTUCE, RED LEAF             24 CT.                 11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718452       360       1798             4    23.98        95.92   MICRO GREENS- CILANTRO            8 OZ PKG           11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718452       400       1272             4    18.98        75.92   MICRO GREENS- MINT            4 OZ PKG               11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718452       690       1353             2    19.45        38.90   MICRO GREENS- PARSLEY             8 OZ PKG           11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718452        30       9137             1    73.80        73.80   MICRO GREENS- SAKURA MIX CRESS               16 CT   11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718452       560       9166             6    10.75        64.50   MUSHROOMS, CRIMINI                  5#               11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718452       580       9169             4    17.94        71.76   MUSHROOMS, ENOKI                6/7 OZ               11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718452       640       1730            38    16.80       638.40   MUSHROOMS, FANCY(SHIPS)                  10#         11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718452       620       9197             2    18.98        37.96   MUSHROOMS, HON SHIMEJII BROWN                  3#    11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718452       630       9198             2    18.98        37.96   MUSHROOMS, HON SHIMEJII WHITE                 3#     11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718452       600       9208            12    24.90       298.80   MUSHROOMS, OYSTER                     5#             11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718452       570       1406            14    16.14       225.96   MUSHROOMS, PORTABELLA CAP                    3#      11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718452       590       9223             4    19.14        76.56   MUSHROOMS, ROYAL TRUMPET (KING OYSTER) 3#            11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718452       610       9224            14    19.44       272.16   MUSHROOMS, SHITAKE                   3#              11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718452       810       9287             4    25.20       100.80   ONIONS, GREEN                48's                    11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718452        10       4271             1    37.47        37.47   ORGANIC SPROUT, CLOVER                 8/3oz         11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718452       680       8753             3    23.20        69.60   PARSLEY ITALIAN             60 CT.                   11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718452       1050      9433             3    39.60       118.80   PEARS, RED             1/2 case                      11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718452       710       9440             1    29.80        29.80   PEAS, SNO                10#                         11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718452       700       9443             1    23.60        23.60   PEAS, SUGAR SNAP                 10#                 11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718452       800       1746             1    55.00        55.00   PEPPER, GREEN THAI               10lb                11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718452       770       9477             1    29.44        29.44   PEPPER, HABANERO (ORANGE)                   8#       11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718452       740       9481             1    12.80        12.80   PEPPER, JALAPENO                 10#                 11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718452       780       9524             1    18.60        18.60   PEPPER, SERRANO                  10#                 11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718452       790        13              1    23.80        23.80   PEPPER, SHISHITO               10#                   11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718452       720       9533             2    37.00        74.00   PEPPER, YELLOW                 25#                   11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718452       1060      9548             2    59.80       119.60   PINEAPPLES GOLD, BABY            10-12ct.            11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718452       940       9551             1    24.50        24.50   PLANTAINS GREEN                 50#                  11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718452       1080      9556             1    45.36        45.36   PLUMS, BLACK, VOLUME FILL               28#          11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718452       1070      9562             1    55.40        55.40   PLUMS, RED VOLUME FILL               28#             11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718452       1090      9563             1    56.50        56.50   POMEGRANATE                   CASE                   11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718452       1100      9696             4    19.45        77.80   RAMBUTAN                  5 lb                       11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718452       410       9992             5     6.50        32.50   ROSEMARY                    1#                       11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718452       420       8695             1     8.00         8.00   SAGE                   1#                            11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718452       1150      9740             1    39.80        39.80   SALSIFY             10#/CASE                         11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718452       830       9751            30    18.90       567.00   SPINACH             4/2.5#/CS.                       11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718452       150       9763             1     8.90         8.90   SPROUT, BEAN              5#/CASE                    11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718452       260       9767             2    39.50        79.00   SPROUT, BRUSSEL                 25#                  11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718452        20       9771             1    42.15        42.15   SPROUT, DAIKON CUPS            12/3.5 OZ             11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718452       440       9777             2    18.30        36.60   SPROUT, YELLOW PEA SHOOT                  8 OZ       11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718452       130       9781             0    22.40          -     SQUASH, BABY SUNBURST                   5#           11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718452       140       9782             2    22.40        44.80   SQUASH, BABY ZUCCHINI                 5#             11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718452       840       9802             1    19.60        19.60   SQUASH, YELLOW FANCY                 CASE            11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718452       1110      9807             2    26.00        52.00   STARFRUIT               25 CT.                       11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718452       1160      9812             5    28.90       144.50   SUNCHOKES                  10lb.                     11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718452       1120      9820             1    36.80        36.80   TANGERINES               120 CT.                     11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718452       430       8696             2     8.50        17.00   TARRAGON                    1#                       11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718452       450       8698             5     6.50        32.50   THYME                   1#                           11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718452       890       9833             1    16.80        16.80   TOMATILLO - PEELED               10#                 11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718452       860       2254            10    14.80       148.00   TOMATOES, CHERRY (SHIPS)             12/1pt.         11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718452       870       9856             2    23.80        47.60   TOMATOES, HEIRLOOM ASSORTED                   10#    11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718452       880       9863             2    19.50        39.00   TOMATOES, PLUM                 25 #                  11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718452       910       9897             0    38.90          -     TOMATOES, YELLOW TEARDROP                  12 CT.    11/24/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1718452       920       1739             2    17.04        34.08   WATERCRESS, FOODSERVICE                  2/1.5#      11/24/19   PRODUCE
                             1718452 Total                                            12,166.83
 CRYSTAL CRUISE - SERENITY     1718567       200      7985              4    34.40       137.60   ANISE, (FENNEL)         36 CT.                       11/24/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1718567       1060     8022              5    28.80       144.00   APPLES, GALA          125 CT.                        11/24/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1718567       1080     8035             10    32.00       320.00   APPLES, GOLDEN           125 CT.                     11/24/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1718567       1070     8048              3    28.00        84.00   APPLES, GRANNY SMITH        125 CT.                  11/24/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1718567       1090     8081             10    26.80       268.00   APPLES, RED          125 CT.                         11/24/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1718567        60      8102              6    42.00       252.00   ARTICHOKES             24 CT.                        11/24/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1718567        70      2004              0    49.20          -     ARTICHOKES, BABY            20#                      11/24/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1718567       1100     8129             30    14.40       432.00   BANANAS, 3 COLOR            40#                      11/24/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1718567       1110     8130             30    14.40       432.00   BANANAS, HALF RIPE           CS                      11/24/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1718567       210      8654             40     5.00       200.00   BASIL               1#                               11/24/19   PRODUCE




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 FREEDOM FRESH LLC
 CRYSTAL CRUISES - PRODUCE SALES REPORT
 FOR THE YEAR ENDED 2019

                                                                                     EXTENDED                                                          DELIVERY
            CUSTOMER         INVOICE NO.     LINE   PROD CODE   QUANTITY    PRICE                               PRODUCT DESCRIPTION                                CLASS
                                                                                     $ AMOUNT                                                            DATE
 CRYSTAL CRUISE - SERENITY     1718567       100      8138              2    26.80        53.60   BEANS, CHINESE LONG                10#               11/24/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1718567       120      8140              0    49.50          -     BEANS, FAVA                25#                       11/24/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1718567       110      8148              5    42.00       210.00   BEANS, GREEN                CASE                     11/24/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1718567       740      8158             10    10.50       105.00   BEETS, CUT                25#                        11/24/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1718567       640      8165              2    28.00        56.00   BERRIES,BLACK              12/6oz                    11/24/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1718567       660      2040             44    23.40     1,029.60   BERRIES,BLUE              12/6oz                     11/24/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1718567       650      8185              0    42.00          -     BERRIES,RED CURRANTS                12/6oz           11/24/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1718567       140      8207             27    25.08       677.16   BROCCOLI, CROWNS                  20#                11/24/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1718567       150      8218              2    39.60        79.20   BROCCOLLINI              18 CT.                      11/24/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1718567       1040     8220              1    29.80        29.80   BURDOCK ROOT                  CASE                   11/24/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1718567       130      8196              7    23.40       163.80   CABBAGE, BOKCHOY                  30#                11/24/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1718567       750      8197              2    32.40        64.80   CABBAGE, BOKCHOY BABY                  30#           11/24/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1718567       760      8231              3    17.50        52.50   CABBAGE, RED                 45#                     11/24/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1718567       770      8243              9    13.00       117.00   CABBAGE, WHITE                 BAG                   11/24/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1718567        80      2708              0    24.90          -     CARROT BABY YELLOW W/ TOPS                1doz       11/24/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1718567       780      8264             56    14.50       812.00   CARROT JUMBO                   50#                   11/24/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1718567       170      8286             22    27.44       603.68   CAULIFLOWER                12 CT.                    11/24/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1718567       160      1296              2    37.80        75.60   CAULIFLOWER, ROMANESCO (LG)             12/16 CT     11/24/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1718567       800      8297              5    27.60       138.00   CELERY                36 CT.                         11/24/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1718567       440      3608              0    59.40          -     CELERY CHINESE                 30#                   11/24/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1718567       790      8300             15    21.00       315.00   CELERY KNOB                 12ct                     11/24/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1718567       180      9988             20     8.50       170.00   CHIVES                  1#                           11/24/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1718567       220      8734              8    26.80       214.40   CILANTRO, CALIFORNIA            30 CT.               11/24/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1718567       810      8432              4    14.50        58.00   CUCUMBERS                 SELECT                     11/24/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1718567       820      8424             70    13.80       966.00   CUCUMBERS, EUROPEAN                  12 CT.          11/24/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1718567       830      8433              4    18.00        72.00   DAIKON                40 LB                          11/24/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1718567       240      8712              2    29.80        59.60   DILL               24 CT.                            11/24/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1718567       190      3687              2    23.60        47.20   EGGPLANT, JAPANESE                  10#              11/24/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1718567       320      8543              7    26.29       184.03   ENDIVE, BELGIUM               11#                    11/24/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1718567       860      1598              1    29.80        29.80   GALANGA ROOT(BLUE GINGER)                 10#        11/24/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1718567       840      8599             10    50.40       504.00   GARLIC, WHOLE JUMBO WHITE                CASE        11/24/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1718567       850      8603              3    28.80        86.40   GINGER ROOT                  30#                     11/24/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1718567       1120     9968             88    15.60     1,372.80   GRAPEFRUIT               36 CT.                      11/24/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1718567       1140     8629             34    29.34       997.56   GRAPES, GREEN SEEDLESS LARGE                CASE     11/24/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1718567       1130     8638             23    24.48       563.04   GRAPES, RED SEEDLESS LARGE                CASE       11/24/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1718567       920      8827             10    13.98       139.80   HEARTS OF PALM                  1#                   11/24/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1718567       870      8824              0    39.80          -     HORSERADISH                  10#                     11/24/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1718567       880      8830              1    19.20        19.20   JICAMA                 20#                           11/24/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1718567       670      8909              3    23.00        69.00   KIWI              VOLUME FIL                         11/24/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1718567       310      9989             10     3.25        32.50   LEMONGRASS                    1#                     11/24/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1718567       350      9987             34    11.67       396.78   LETTUCE, BABY LOLLA ROSA               2lb.          11/24/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1718567       360      8955             34    11.67       396.78   LETTUCE, BABY RED OAK                2lb             11/24/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1718567       890      8962             13    25.60       332.80   LETTUCE, BOSTON                24CT.                 11/24/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1718567       330      8971             37    12.84       475.08   LETTUCE, FRISSEE               3lb.                  11/24/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1718567       900      8998              8    29.60       236.80   LETTUCE, ROMAINE              24 CT.                 11/24/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1718567       380      8999              6    50.40       302.40   LETTUCE, ROMAINE HEARTS               48 CT.         11/24/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1718567       1150     9037            220     9.50     2,090.00   MANGOS                 12 CT.                        11/24/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1718567       1160     9098             70    15.20     1,064.00   MELONS, CANTALOUPE JUMBO                 9 CT.       11/24/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1718567       1170     9109             96    12.75     1,224.00   MELONS, HONEYDEW                  8 CT.              11/24/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1718567       230      1798              8    26.98       215.84   MICRO GREENS- CILANTRO             8 OZ PKG          11/24/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1718567       470      1353              6    19.45       116.70   MICRO GREENS- PARSLEY             8 OZ PKG           11/24/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1718567        30      9137              0    73.80          -     MICRO GREENS- SAKURA MIX CRESS              16 CT    11/24/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1718567        20      3340              0    68.50          -     MICRO GREENS-PERSINETTE CRESS                16 CT   11/24/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1718567       430      1730             60    16.80     1,008.00   MUSHROOMS, FANCY(SHIPS)                 10#          11/24/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1718567       410      9197              4    18.98        75.92   MUSHROOMS, HON SHIMEJII BROWN                 3#     11/24/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1718567       420      9198              4    18.98        75.92   MUSHROOMS, HON SHIMEJII WHITE                3#      11/24/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1718567       400      9208             16    24.90       398.40   MUSHROOMS, OYSTER                     5#             11/24/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1718567       390      9171             14    19.14       267.96   MUSHROOMS,EXOTIC W/ R.TRUPET                  3#     11/24/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1718567       930      9309             12    13.50       162.00   ONIONS, RED, MEDIUM               25#                11/24/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1718567       910      9317              1    24.00        24.00   ONIONS, WHITE, JUMBO               50#               11/24/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1718567       950      9336             50    16.50       825.00   ONIONS, YELLOW, JUMBO                 50#            11/24/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1718567       1190     9341            225    14.00     3,150.00   ORANGES                125 CT.                       11/24/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1718567       690      9342              0    55.60          -     ORANGES, BLOOD 44ct/88ct            18lb.            11/24/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1718567       1200     9375            120    12.50     1,500.00   PAPAYA, BRAZILIAN            12 CT.                  11/24/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1718567       460      8753              7    23.20       162.40   PARSLEY ITALIAN             60 CT.                   11/24/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1718567       1210     1204              9    29.25       263.25   PEARS, BARTLETT             120 CT.                  11/24/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1718567       480      9443              3    23.60        70.80   PEAS, SUGAR SNAP                 10#                 11/24/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1718567       960      9471             14    15.50       217.00   PEPPER, GREEN, CHOPPER                 CASE          11/24/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1718567       510      9477              0    29.44          -     PEPPER, HABANERO (ORANGE)                  8#        11/24/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1718567       500      9481              1    12.80        12.80   PEPPER, JALAPENO                 10#                 11/24/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1718567       490      2373              2    32.16        64.32   PEPPER, MINI TRI COLORED             12/1#           11/24/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1718567       520      9524              1    18.60        18.60   PEPPER, SERRANO                  10#                 11/24/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1718567       530       13               1    23.80        23.80   PEPPER, SHISHITO               10#                   11/24/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1718567       700      9548              2    59.80       119.60   PINEAPPLES GOLD, BABY            10-12ct.            11/24/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1718567       1220     9549             85    13.68     1,162.80   PINEAPPLES GOLD, CROWNLESS                10 CT      11/24/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1718567       710      9562              1    55.44        55.44   PLUMS, RED VOLUME FILL               28#             11/24/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1718567       970      1498             30    19.00       570.00   POTATO, RUSSET              100 CT.                  11/24/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1718567       980      9618             50    18.50       925.00   POTATO, YUKON GOLD A                 50#             11/24/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1718567       990      9690              1    28.80        28.80   RADISH, RED                40#                       11/24/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1718567       270      9992              6     6.50        39.00   ROSEMARY                    1#                       11/24/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1718567       1020     9698              4    29.00       116.00   RUTABAGAS                   50#                      11/24/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1718567       280      8695              1     8.00         8.00   SAGE                   1#                            11/24/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1718567       720      9740              2    39.80        79.60   SALSIFY             10#/CASE                         11/24/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1718567       940      2743              2    48.00        96.00   SHALLOTS, WHOLE              8/5# BAG                11/24/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1718567       250      2377              2    99.80       199.60   SPINACH, WATER (KANGKONG)                 10#        11/24/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1718567       540      2377              2    98.60       197.20   SPINACH, WATER (KANGKONG)                 10#        11/24/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1718567        90      9763              2     8.90        17.80   SPROUT, BEAN              5#/CASE                    11/24/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1718567       1000     9787             12    22.05       264.60   SQUASH, BUTTERNUT               18-22ct              11/24/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1718567       550      1670              1    28.80        28.80   SQUASH, CHAYOTE WHITE                  40#           11/24/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1718567       1030     9795              1    38.40        38.40   SQUASH, KABOCHA                 40lb.                11/24/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1718567       730      9812              4    28.90       115.60   SUNCHOKES                 10lb.                      11/24/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1718567       290      8696              4     8.50        34.00   TARRAGON                    1#                       11/24/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1718567       300      8698              4     6.50        26.00   THYME                   1#                           11/24/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1718567       600      9833              1    16.80        16.80   TOMATILLO - PEELED               10#                 11/24/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1718567       1010     9846             88    16.50     1,452.00   TOMATOES, 6X6                 25#                    11/24/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1718567       560      2254             16    14.80       236.80   TOMATOES, CHERRY (SHIPS)             12/1pt.         11/24/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1718567       630      3263              0    48.90          -     TOMATOES, CHERRY HEIRLOOM ORGA 12/1pt.               11/24/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1718567       570      9856              4    23.80        95.20   TOMATOES, HEIRLOOM ASSORTED                  10#     11/24/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1718567       590      1343              1    68.90        68.90   TOMATOES, HEIRLOOM BABY               12/1PT.        11/24/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1718567       580      9863              3    19.50        58.50   TOMATOES, PLUM                 25 #                  11/24/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1718567       620      9896              3    28.90        86.70   TOMATOES, YELLOW                  10#                11/24/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1718567       610      9897              0    38.90          -     TOMATOES, YELLOW TEARDROP                 12 CT.     11/24/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1718567       1180     9921             60    25.20     1,512.00   WATERMELON, SEEDLESS, 5'S               CASE         11/24/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1718567       1050     3559              0    75.60          -     YAMS, JAPANESE                 40#                   11/24/19   PRODUCE
                             1718567 Total                                            35,258.16
 CRYSTAL CRUISE - SERENITY     1719245       190      9556              1    38.92        38.92   PLUMS, BLACK, VOLUME FILL             28#            11/24/19   PRODUCE
                             1719245 Total                                                38.92
 CRYSTAL CRUISE - SERENITY     1720043        30      8772              8    12.50       100.00   BASIL THAI HARVEST SENSATION             1#          11/24/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1720043        90      8151              0    44.90          -     BEANS, SEA               5#                          11/24/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1720043        50      8830              2    15.60        31.20   JICAMA               20#                             11/24/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1720043        80      8904              8    48.30       386.40   KALE, LACINATO           24 CT.                      11/24/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1720043        20      9989             15     3.25        48.75   LEMONGRASS                  1#                       11/24/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1720043       120      9276              1    25.20        25.20   OKRA                 15#                             11/24/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1720043        60      9292              4    38.28       153.12   ONIONS, PEARL, RED        12/8 OZ.                   11/24/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1720043       100      9379              1    41.40        41.40   PAPAYA, GREEN            23/25#                      11/24/19   PRODUCE




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 FREEDOM FRESH LLC
 CRYSTAL CRUISES - PRODUCE SALES REPORT
 FOR THE YEAR ENDED 2019

                                                                                     EXTENDED                                                         DELIVERY
            CUSTOMER         INVOICE NO.     LINE   PROD CODE   QUANTITY    PRICE                              PRODUCT DESCRIPTION                                CLASS
                                                                                     $ AMOUNT                                                           DATE
 CRYSTAL CRUISE - SERENITY     1720043       110      9551              1    28.00        28.00   PLANTAINS GREEN             50#                     11/24/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1720043        10      9668              4    51.20       204.80   PUMMELO             12-14ct.                        11/24/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1720043        70      9777             12    18.40       220.80   SPROUT, YELLOW PEA SHOOT            8 OZ            11/24/19   PRODUCE
                             1720043 Total                                             1,239.67
 CRYSTAL CRUISE - SERENITY     1720742        40      9142              1   156.00       156.00   BUCK FAT RENDERED                 CS                11/24/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1720742        10      9142              2    89.40       178.80   CHERRIES AMARENA             2/2.7 KGS              11/24/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1720742        20      9142              2   120.40       240.80   CHERRIES AMARINA             6/1 KGR                11/24/19   PRODUCE
                             1720742 Total                                               575.60
 CRYSTAL CRUISE - SYMPHONY     1721579       200      7985              4    32.80       131.20   ANISE, (FENNEL)          36 CT.                     12/01/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1721579        30      2004              1    48.00        48.00   ARTICHOKES, BABY               20#                  12/01/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1721579        40      8108             28    27.27       763.56   ASPARAGUS, GREEN, LARGE               LG/11#        12/01/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1721579        50      8114             10    24.86       248.60   ASPARAGUS, WHITE                11#                 12/01/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1721579       210      8654             20     5.00       100.00   BASIL                1#                             12/01/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1721579       100      8138              1    26.80        26.80   BEANS, CHINESE LONG               10#               12/01/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1721579       110      8148              3    42.00       126.00   BEANS, GREEN               CASE                     12/01/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1721579       610      8178              1    26.00        26.00   BERRIES,GOOSE              12/6oz.                  12/01/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1721579       620      8180             16    28.40       454.40   BERRIES,RASP               FLAT                     12/01/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1721579       630      8194             69    29.44     2,031.36   BERRIES,STRAW                8/1#                   12/01/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1721579       130      8212              1    38.40        38.40   BROCCOLI FLORETTES                 18#              12/01/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1721579       150      8206              1    32.40        32.40   BROCCOLI, CHINESE               30#                 12/01/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1721579       120      8207             20    23.60       472.00   BROCCOLI, CROWNS                 20#                12/01/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1721579       140      8218              3    33.60       100.80   BROCCOLLINI             18 CT.                      12/01/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1721579        60      8276              1    32.00        32.00   CARROT RAINBOW CRUNCH                    25#        12/01/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1721579       170      8286             18    36.12       650.16   CAULIFLOWER               12 CT.                    12/01/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1721579       160      1296              1    42.00        42.00   CAULIFLOWER, ROMANESCO (LG)             12/16 CT    12/01/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1721579       230      8759              7    14.30       100.10   CHERVIL                 1#                          12/01/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1721579       180      9988             10     7.50        75.00   CHIVES                 1#                           12/01/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1721579       220      8734              5    16.80        84.00   CILANTRO, CALIFORNIA           30 CT.               12/01/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1721579       190      8419              5    19.20        96.00   CORN, YELLOW FANCY            48-60 CT.             12/01/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1721579       240      8712              2    29.80        59.60   DILL              24 CT.                            12/01/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1721579       720      1622              4    39.80       159.20   DRAGON FRUIT- RED               10#                 12/01/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1721579       320      8543              4    25.08       100.32   ENDIVE, BELGIUM              11#                    12/01/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1721579       310      8544              3    44.66       133.98   ENDIVE, RED BELGIUM               6#                12/01/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1721579       640      8909              2    23.60        47.20   KIWI             VOLUME FIL                         12/01/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1721579       300      9989             10     3.25        32.50   LEMONGRASS                   1#                     12/01/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1721579       340      9987             20    11.67       233.40   LETTUCE, BABY LOLLA ROSA              2lb.          12/01/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1721579       350      8955             20    11.67       233.40   LETTUCE, BABY RED OAK               2lb             12/01/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1721579       330      8971             19    13.50       256.50   LETTUCE, FRISSEE              3lb.                  12/01/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1721579       370      8992              3    32.00        96.00   LETTUCE, RED LEAF            24 CT.                 12/01/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1721579        20      9137              1    67.92        67.92   MICRO GREENS- SAKURA MIX CRESS              16 CT   12/01/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1721579       380      9166              8    13.40       107.20   MUSHROOMS, CRIMINI                 5#               12/01/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1721579       420      1730             40    16.80       672.00   MUSHROOMS, FANCY(SHIPS)                 10#         12/01/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1721579       400      9208             12    24.90       298.80   MUSHROOMS, OYSTER                    5#             12/01/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1721579       390      9223              4    17.67        70.68   MUSHROOMS, ROYAL TRUMPET (KING OYSTER) 3#           12/01/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1721579       410      9227              8    31.60       252.80   MUSHROOMS, SHITAKE                  5#              12/01/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1721579       430      9276              2    26.70        53.40   OKRA                 15#                            12/01/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1721579       660      9342              1    43.80        43.80   ORANGES, BLOOD 44ct/88ct           18lb.            12/01/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1721579       440      8753              4    25.60       102.40   PARSLEY ITALIAN            60 CT.                   12/01/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1721579       670      9384              2    58.90       117.80   PASSION FRUIT            18-26ct                    12/01/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1721579       460      9440              1    29.80        29.80   PEAS, SNO               10#                         12/01/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1721579       450      9443              1    23.60        23.60   PEAS, SUGAR SNAP                10#                 12/01/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1721579       500      9477              3    31.12        93.36   PEPPER, HABANERO (ORANGE)                 8#        12/01/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1721579       480      9498              6    22.99       137.94   PEPPER, ORANGE GOURMET                   11#        12/01/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1721579       510      9524              1    16.20        16.20   PEPPER, SERRANO                 10#                 12/01/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1721579       520       13               1    28.60        28.60   PEPPER, SHISHITO              10#                   12/01/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1721579       470      9533              3    37.00       111.00   PEPPER, YELLOW                25#                   12/01/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1721579       600      9551              1    28.00        28.00   PLANTAINS GREEN                50#                  12/01/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1721579       680      9556              1    38.08        38.08   PLUMS, BLACK, VOLUME FILL              28#          12/01/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1721579       690      9562              1    38.64        38.64   PLUMS, RED VOLUME FILL              28#             12/01/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1721579       700      9696              6    22.40       134.40   RAMBUTAN                 5 lb                       12/01/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1721579       260      8695              1     7.00         7.00   SAGE                  1#                            12/01/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1721579       730      9740              5    48.90       244.50   SALSIFY            10#/CASE                         12/01/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1721579        80      9763              1    80.00        80.00   SPROUT, BEAN             5#/CASE                    12/01/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1721579        10      9771              1    36.70        36.70   SPROUT, DAIKON CUPS           12/3.5 OZ             12/01/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1721579        70      9782              2    16.80        33.60   SQUASH, BABY ZUCCHINI                5#             12/01/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1721579       550      1670              1    19.20        19.20   SQUASH, CHAYOTE WHITE                 40#           12/01/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1721579       540      9803              2    17.40        34.80   SQUASH, YELLOW MEDIUM                  C/S          12/01/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1721579       740      9812             10    29.80       298.00   SUNCHOKES                 10lb.                     12/01/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1721579       710      9820              1    38.00        38.00   TANGERINES              120 CT.                     12/01/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1721579       270      8696              2     8.50        17.00   TARRAGON                   1#                       12/01/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1721579       290      8698              5     6.50        32.50   THYME                  1#                           12/01/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1721579       560      2254             12    14.80       177.60   TOMATOES, CHERRY (SHIPS)            12/1pt.         12/01/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1721579       570      9856              2    28.60        57.20   TOMATOES, HEIRLOOM ASSORTED                  10#    12/01/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1721579       580      9863              3    18.00        54.00   TOMATOES, PLUM                25 #                  12/01/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1721579       590      1739              2    18.84        37.68   WATERCRESS, FOODSERVICE                 2/1.5#      12/01/19   PRODUCE
                             1721579 Total                                            10,665.08
 CRYSTAL CRUISE - SYMPHONY     1721665       360      8022              6    32.40       194.40   APPLES, GALA            125 CT.                     12/01/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1721665       380      8035              7    33.60       235.20   APPLES, GOLDEN            125 CT.                   12/01/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1721665       370      8048              5    32.80       164.00   APPLES, GRANNY SMITH          125 CT.               12/01/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1721665       390      8081              6    26.40       158.40   APPLES, RED            125 CT.                      12/01/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1721665       400      8129             13    14.40       187.20   BANANAS, 3 COLOR              40#                   12/01/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1721665       410      8131             19    14.40       273.60   BANANAS, 5 COLOR              40#                   12/01/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1721665        10      8196              5    24.00       120.00   CABBAGE, BOKCHOY               30#                  12/01/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1721665        20      9249             10    24.60       246.00   CABBAGE, NAPPA               30#                    12/01/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1721665        30      8231              7    17.50       122.50   CABBAGE, RED               45#                      12/01/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1721665        40      8243             10    13.00       130.00   CABBAGE, WHITE              BAG                     12/01/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1721665        50      8264             40    15.50       620.00   CARROT JUMBO                50#                     12/01/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1721665        70      8301              6    38.40       230.40   CELERY               30 CT.                         12/01/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1721665        60      8300             20    19.20       384.00   CELERY KNOB               12ct                      12/01/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1721665       420      8395              1    44.50        44.50   COCONUT                  BAG                        12/01/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1721665        80      8432              7    16.50       115.50   CUCUMBERS                SELECT                     12/01/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1721665        90      8433              8    18.40       147.20   DAIKON               40 LB                          12/01/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1721665       100      8533             20    17.00       340.00   EGGPLANT, FANCY           1-1/9 BU                  12/01/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1721665       120      8599             17    49.80       846.60   GARLIC, WHOLE JUMBO WHITE            CASE           12/01/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1721665       130      8603             10    26.70       267.00   GINGER ROOT                30#                      12/01/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1721665       430      9968             70    15.60     1,092.00   GRAPEFRUIT              36 CT.                      12/01/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1721665       440      8621             17    29.16       495.72   GRAPES, BLACK SEEDLESS LARGE           CASE         12/01/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1721665       450      8629             23    32.04       736.92   GRAPES, GREEN SEEDLESS LARGE            CASE        12/01/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1721665       460      8638             23    24.84       571.32   GRAPES, RED SEEDLESS LARGE            CASE          12/01/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1721665       140      8962             13    27.60       358.80   LETTUCE, BOSTON             24CT.                   12/01/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1721665       470      9021             23    27.00       621.00   LIMES              200 CT.                          12/01/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1721665       480      9037             60     9.50       570.00   MANGOS                12 CT.                        12/01/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1721665       310      9092              0    36.90          -     MELONS, BITTER CHINESE           30LB               12/01/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1721665       490      9098             20    16.80       336.00   MELONS, CANTALOUPE JUMBO             9 CT.          12/01/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1721665       500      9109             88    21.60     1,900.80   MELONS, HONEYDEW               8 CT.                12/01/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1721665       160      9309             16    13.50       216.00   ONIONS, RED, MEDIUM            25#                  12/01/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1721665       150      9317              4    22.00        88.00   ONIONS, WHITE, JUMBO            50#                 12/01/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1721665       180      9336             72    17.00     1,224.00   ONIONS, YELLOW, JUMBO             50#               12/01/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1721665       520      9341            200    14.40     2,880.00   ORANGES               125 CT.                       12/01/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1721665       530      9374             60    12.80       768.00   PAPAYA, BRAZILIAN          10 CT.                   12/01/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1721665       540      1204              8    34.90       279.20   PEARS, BARTLETT           120 CT.                   12/01/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1721665       190      9471             16    16.50       264.00   PEPPER, GREEN, CHOPPER             CASE             12/01/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1721665       200      9513              8    34.00       272.00   PEPPER, RED               25#                       12/01/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1721665       550      9549             45    13.68       615.60   PINEAPPLES GOLD, CROWNLESS            10 CT         12/01/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1721665       270      9570              4    56.00       224.00   POTATO, FINGERLING WHITE           50#              12/01/19   PRODUCE




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 FREEDOM FRESH LLC
 CRYSTAL CRUISES - PRODUCE SALES REPORT
 FOR THE YEAR ENDED 2019

                                                                                     EXTENDED                                                          DELIVERY
            CUSTOMER         INVOICE NO.     LINE   PROD CODE   QUANTITY    PRICE                              PRODUCT DESCRIPTION                                 CLASS
                                                                                     $ AMOUNT                                                            DATE
 CRYSTAL CRUISE - SYMPHONY     1721665       260      9590              3    59.00       177.00   POTATO, PURPLE A               50#                   12/01/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1721665       240      9985              2    45.00        90.00   POTATO, RED B               50#                      12/01/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1721665       210      1498             70    19.00     1,330.00   POTATO, RUSSET             100 CT.                   12/01/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1721665       250      9612              3    55.00       165.00   POTATO, WHITE C               50#                    12/01/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1721665       220      9618             32    18.00       576.00   POTATO, YUKON GOLD A              50#                12/01/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1721665       280      9690              1    28.00        28.00   RADISH, RED               40#                        12/01/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1721665       340      9698              6    29.00       174.00   RUTABAGAS                  50#                       12/01/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1721665       170      2743              6    44.00       264.00   SHALLOTS, WHOLE             8/5# BAG                 12/01/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1721665       290      9787             12    21.70       260.40   SQUASH, BUTTERNUT              18-22ct               12/01/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1721665       350      9795              2    28.80        57.60   SQUASH, KABOCHA               40lb.                  12/01/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1721665       300      9806             25    16.80       420.00   SQUASH, ZUCCHINI MD             CASE                 12/01/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1721665       110      9823              1    19.80        19.80   TARO ROOT                 10#                        12/01/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1721665       320      9846             52    16.50       858.00   TOMATOES, 6X6                25#                     12/01/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1721665       330      9902             10    16.00       160.00   TURNIPS                 25#                          12/01/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1721665       510      9921             30    26.65       799.50   WATERMELON, SEEDLESS, 5'S            CASE            12/01/19   PRODUCE
 CRYSTAL CRUISE - SYMPHONY     1721665       230      9935             13    21.20       275.60   YAMS, FANCY #1(70-80ct)         40#                  12/01/19   PRODUCE
                             1721665 Total                                            23,994.76
 CRYSTAL CRUISE - SERENITY     1723041       160      7985              8    32.00       256.00   ANISE, (FENNEL)           36 CT.                     12/06/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1723041       970      8022              6    31.20       187.20   APPLES, GALA             125 CT.                     12/06/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1723041       990      8035             13    32.80       426.40   APPLES, GOLDEN              125 CT.                  12/06/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1723041       980      8048              5    33.60       168.00   APPLES, GRANNY SMITH             125 CT.             12/06/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1723041       1000     8081             13    24.80       322.40   APPLES, RED             125 CT.                      12/06/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1723041        50      2004              2    42.00        84.00   ARTICHOKES, BABY                20#                  12/06/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1723041       280      8733             24    14.97       359.28   ARUGULA, BABY             2/1.5 LB                   12/06/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1723041        60      8114             10    25.19       251.90   ASPARAGUS, WHITE                 11#                 12/06/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1723041       1010     8129             55    13.60       748.00   BANANAS, 3 COLOR                40#                  12/06/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1723041       1020     8131             30    13.60       408.00   BANANAS, RIPE                 CS                     12/06/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1723041       180      8654             25     4.50       112.50   BASIL                 1#                             12/06/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1723041        90      8138              2    23.90        47.80   BEANS, CHINESE LONG                10#               12/06/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1723041       100      8148              4    38.00       152.00   BEANS, GREEN                CASE                     12/06/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1723041       670      8158             20    10.50       210.00   BEETS, CUT                25#                        12/06/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1723041       590      2040             24    19.50       468.00   BERRIES,BLUE              12/6oz                     12/06/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1723041       580      8185              0    38.40          -     BERRIES,RED CURRANTS                12/6oz           12/06/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1723041       610      8194            107    29.44     3,150.08   BERRIES,STRAW                 8/1#                   12/06/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1723041       130      8206              1    43.80        43.80   BROCCOLI, CHINESE                30#                 12/06/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1723041       660      8206              1    89.40        89.40   BROCCOLI, CHINESE                30#                 12/06/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1723041       120      8218              2    29.00        58.00   BROCCOLLINI              18 CT.                      12/06/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1723041       680      8196             12    24.00       288.00   CABBAGE, BOKCHOY                  30#                12/06/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1723041       110      8197              2    29.40        58.80   CABBAGE, BOKCHOY BABY                  30#           12/06/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1723041       690      9249             14    24.00       336.00   CABBAGE, NAPPA                 30#                   12/06/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1723041       700      8231              4    19.00        76.00   CABBAGE, RED                 45#                     12/06/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1723041       710      8243              6    14.00        84.00   CABBAGE, WHITE                 BAG                   12/06/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1723041        70      2708              2    28.40        56.80   CARROT BABY YELLOW W/ TOPS                1doz       12/06/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1723041       720      8264             80    16.00     1,280.00   CARROT JUMBO                   50#                   12/06/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1723041       140      1296              0    54.50          -     CAULIFLOWER, ROMANESCO (LG)             12/16 CT     12/06/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1723041       440      3608              1   186.00       186.00   CELERY CHINESE                 30#                   12/06/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1723041       730      8300             21    19.80       415.80   CELERY KNOB                 12ct                     12/06/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1723041       150      9988             12     7.50        90.00   CHIVES                  1#                           12/06/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1723041       740      8432              9    18.00       162.00   CUCUMBERS                 SELECT                     12/06/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1723041       190      8712              1    29.80        29.80   DILL               24 CT.                            12/06/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1723041       760      3316             38    14.00       532.00   EGGPLANT               1-1/9 BU                      12/06/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1723041       290      8543              3    22.99        68.97   ENDIVE, BELGIUM               11#                    12/06/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1723041       770      8599             17    48.00       816.00   GARLIC, WHOLE JUMBO WHITE                CASE        12/06/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1723041       780      8603              4    28.50       114.00   GINGER ROOT                  30#                     12/06/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1723041       1030     9968             90    15.20     1,368.00   GRAPEFRUIT               36 CT.                      12/06/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1723041       1040     8621             17    33.12       563.04   GRAPES, BLACK SEEDLESS LARGE                CASE     12/06/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1723041       1050     8629             67    28.62     1,917.54   GRAPES, GREEN SEEDLESS LARGE                 CASE    12/06/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1723041       1060     8638             34    26.82       911.88   GRAPES, RED SEEDLESS LARGE                CASE       12/06/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1723041       430      8927              1    18.68        18.68   LEAVES- SHISO GREEN LEAVES            50CT PKG       12/06/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1723041       790      8929             25    28.00       700.00   LEEKS               12 Bunch                         12/06/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1723041       270      9989             10     3.25        32.50   LEMONGRASS                    1#                     12/06/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1723041       330      9987             24    10.50       252.00   LETTUCE, BABY LOLLA ROSA               2lb.          12/06/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1723041       340      8955             24    10.50       252.00   LETTUCE, BABY RED OAK                2lb             12/06/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1723041       300      8971             17    13.14       223.38   LETTUCE, FRISSEE               3lb.                  12/06/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1723041       800      8979             16    36.00       576.00   LETTUCE, ICEBERG              24 CT.                 12/06/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1723041       320      8985              2    20.94        41.88   LETTUCE, MACHE                CASE                   12/06/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1723041       360      8992              2    24.50        49.00   LETTUCE, RED LEAF             24 CT.                 12/06/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1723041       370      8999              5    29.40       147.00   LETTUCE, ROMAINE HEARTS               48 CT.         12/06/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1723041       1070     9021             20    24.80       496.00   LIMES               200 CT.                          12/06/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1723041       1080     9037            135     9.50     1,282.50   MANGO (RIPE)                 CS                      12/06/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1723041       1090     9098             63    16.00     1,008.00   MELONS, CANTALOUPE JUMBO                 9 CT.       12/06/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1723041       1100     9109             80    13.00     1,040.00   MELONS, HONEYDEW                  8 CT.              12/06/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1723041        30      2740              8    17.98       143.84   MICRO GREENS- LEAVES DULCE KC               50 CT    12/06/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1723041        20      9137              1    53.94        53.94   MICRO GREENS- SAKURA MIX CRESS               16 CT   12/06/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1723041       380      9164              0    36.90          -     MUSHROOMS, CHANTERELLES                     1#       12/06/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1723041       420      1730             35    16.20       567.00   MUSHROOMS, FANCY(SHIPS)                 10#          12/06/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1723041       400      9208              8    22.64       181.12   MUSHROOMS, OYSTER                     5#             12/06/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1723041       390      9223             10    17.94       179.40   MUSHROOMS, ROYAL TRUMPET (KING OYSTER) 3#            12/06/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1723041       410      9224             27    19.44       524.88   MUSHROOMS, SHITAKE                   3#              12/06/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1723041       820      9309             24    13.00       312.00   ONIONS, RED, MEDIUM               25#                12/06/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1723041       810      9317              1    24.00        24.00   ONIONS, WHITE, JUMBO               50#               12/06/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1723041       840      9336             64    16.50     1,056.00   ONIONS, YELLOW, JUMBO                 50#            12/06/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1723041       1120     9341            310    14.40     4,464.00   ORANGES                125 CT.                       12/06/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1723041        10      4271              7    28.47       199.29   ORGANIC SPROUT, CLOVER                8/3oz          12/06/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1723041       1130     9374            150    12.50     1,875.00   PAPAYA, BRAZILIAN            10 CT.                  12/06/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1723041       460      8753              6    23.60       141.60   PARSLEY ITALIAN             60 CT.                   12/06/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1723041       1140     1204             12    30.15       361.80   PEARS, BARTLETT             120 CT.                  12/06/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1723041       850      9471             16    14.00       224.00   PEPPER, GREEN, CHOPPER                 CASE          12/06/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1723041       470      2373              1    51.36        51.36   PEPPER, MINI TRI COLORED             12/1#           12/06/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1723041       480      9524              1    13.60        13.60   PEPPER, SERRANO                  10#                 12/06/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1723041       490       13               1    29.80        29.80   PEPPER, SHISHITO               10#                   12/06/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1723041       620      9548              2     4.68         9.36   PINEAPPLES GOLD, BABY            10-12ct.            12/06/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1723041       1150     9549             75    13.20       990.00   PINEAPPLES GOLD, CROWNLESS                10 CT      12/06/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1723041       640      9556              1    40.88        40.88   PLUMS, BLACK, VOLUME FILL              28#           12/06/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1723041       630      9562              1    44.24        44.24   PLUMS, RED VOLUME FILL               28#             12/06/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1723041       900      9570              5    59.00       295.00   POTATO, FINGERLING WHITE                50#          12/06/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1723041       880      9985              1    22.00        22.00   POTATO, RED B                50#                     12/06/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1723041       860      1498             36    18.50       666.00   POTATO, RUSSET              100 CT.                  12/06/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1723041       890      9612              0    55.00          -     POTATO, WHITE C                50#                   12/06/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1723041       870      9618             90    16.50     1,485.00   POTATO, YUKON GOLD A                 50#             12/06/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1723041       350      9679              9    12.80       115.20   RADICCHIO               12 CT.                       12/06/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1723041       920      9690              1    28.00        28.00   RADISH, RED                40#                       12/06/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1723041       220      9992              4     6.50        26.00   ROSEMARY                    1#                       12/06/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1723041       960      9698              7    29.00       203.00   RUTABAGAS                   50#                      12/06/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1723041       230      8695              2     8.50        17.00   SAGE                   1#                            12/06/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1723041       650      9740              2    42.60        85.20   SALSIFY             10#/CASE                         12/06/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1723041       830      2743              3    44.00       132.00   SHALLOTS, WHOLE              8/5# BAG                12/06/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1723041       500      9753              8    13.92       111.36   SPINACH, BABY LOOSE                 4#               12/06/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1723041       200      2377              2    96.00       192.00   SPINACH, WATER (KANGKONG)                 10#        12/06/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1723041       510      2377              2    96.80       193.60   SPINACH, WATER (KANGKONG)                 10#        12/06/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1723041        80      9763              2     8.00        16.00   SPROUT, BEAN              5#/CASE                    12/06/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1723041       250      9777             10    17.45       174.50   SPROUT, YELLOW PEA SHOOT                 8 OZ        12/06/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1723041       910      9790              4    18.20        72.80   SQUASH, CALABAZA                35lb                 12/06/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1723041       520      1670              1    22.00        22.00   SQUASH, CHAYOTE WHITE                  40#           12/06/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1723041       930      9806             43    14.60       627.80   SQUASH, ZUCCHINI MD               CASE               12/06/19   PRODUCE




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 FREEDOM FRESH LLC
 CRYSTAL CRUISES - PRODUCE SALES REPORT
 FOR THE YEAR ENDED 2019

                                                                                     EXTENDED                                                          DELIVERY
            CUSTOMER         INVOICE NO.     LINE   PROD CODE   QUANTITY    PRICE                              PRODUCT DESCRIPTION                                 CLASS
                                                                                     $ AMOUNT                                                            DATE
 CRYSTAL CRUISE - SERENITY     1723041       240      8696              2     8.50        17.00   TARRAGON                1#                           12/06/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1723041       260      8698              3     6.50        19.50   THYME                1#                              12/06/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1723041       940      9846            132    15.50     2,046.00   TOMATOES, 6X6            25#                         12/06/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1723041       530      2254             10    14.80       148.00   TOMATOES, CHERRY (SHIPS)       12/1pt.               12/06/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1723041       540      9856              3    29.80        89.40   TOMATOES, HEIRLOOM ASSORTED            10#           12/06/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1723041       550      9863              2    18.00        36.00   TOMATOES, PLUM             25 #                      12/06/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1723041       950      9902              8    16.50       132.00   TURNIPS              25#                             12/06/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1723041       570      1739              4    20.94        83.76   WATERCRESS, FOODSERVICE           2/1.5#             12/06/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1723041       1110     9921             60    25.35     1,521.00   WATERMELON, SEEDLESS, 5'S         CASE               12/06/19   PRODUCE
                             1723041 Total                                            43,080.56
 CRYSTAL CRUISE - SERENITY     1727903       110      7986              2    23.80        47.60   ANISE, (FENNEL), BABY            24ct                12/22/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1727903       740      8022              3    29.80        89.40   APPLES, GALA              125 CT.                    12/22/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1727903       750      8081              8    24.80       198.40   APPLES, RED              125 CT.                     12/22/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1727903        30      8103              5    42.50       212.50   ARTICHOKES                36 CT.                     12/22/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1727903       760      8129             20    14.40       288.00   BANANAS, 3 COLOR                 40#                 12/22/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1727903       770      8131             20    14.40       288.00   BANANAS, RIPE                  CS                    12/22/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1727903       120      8654             30     4.50       135.00   BASIL                  1#                            12/22/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1727903        60      8138              2    26.80        53.60   BEANS, CHINESE LONG                10#               12/22/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1727903        70      8140              0    48.75          -     BEANS, FAVA                 25#                      12/22/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1727903       510      8158             10    10.50       105.00   BEETS, CUT                 25#                       12/22/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1727903       410      8165              1    23.50        23.50   BERRIES,BLACK               12/6oz                   12/22/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1727903       420      2040             24    19.50       468.00   BERRIES,BLUE               12/6oz                    12/22/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1727903       430      8178              0    26.80          -     BERRIES,GOOSE                12/6oz.                 12/22/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1727903       440      8182              0    28.80          -     BERRIES,RASP, DRISCOLL             12/6oz            12/22/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1727903        90      8206              1    29.90        29.90   BROCCOLI, CHINESE                30#                 12/22/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1727903       490      8206              1    48.60        48.60   BROCCOLI, CHINESE                30#                 12/22/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1727903        80      8218              2    30.80        61.60   BROCCOLLINI               18 CT.                     12/22/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1727903       520      8196             10    22.60       226.00   CABBAGE, BOKCHOY                  30#                12/22/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1727903       530      8231              8    20.50       164.00   CABBAGE, RED                  45#                    12/22/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1727903       540      8243             10    15.50       155.00   CABBAGE, WHITE                  BAG                  12/22/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1727903        40      8248              4    16.80        67.20   CARROT BABY W/ TOPS                12ct              12/22/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1727903       550      8264             75    17.00     1,275.00   CARROT JUMBO                    50#                  12/22/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1727903       100      1296              2    54.00       108.00   CAULIFLOWER, ROMANESCO (LG)             12/16 CT     12/22/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1727903       560      8297              9    26.00       234.00   CELERY                 36 CT.                        12/22/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1727903       130      2030              2    26.80        53.60   CILANTRO, CALIFORNIA             60 CT.              12/22/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1727903       730      8427              0    53.50          -     CUCUMBERS, JAPANESE 10 LB                10#         12/22/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1727903       570      8433              4    19.80        79.20   DAIKON                 40 LB                         12/22/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1727903       140      8712              1    28.90        28.90   DILL                24 CT.                           12/22/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1727903       220      8543              6    23.55       141.30   ENDIVE, BELGIUM                11#                   12/22/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1727903       580      8603              3    26.90        80.70   GINGER ROOT                   30#                    12/22/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1727903       780      9968            105    15.80     1,659.00   GRAPEFRUIT                36 CT.                     12/22/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1727903       790      8629             34    31.80     1,081.20   GRAPES, GREEN SEEDLESS LARGE                 CASE    12/22/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1727903       800      8638             14    26.80       375.20   GRAPES, RED SEEDLESS LARGE                CASE       12/22/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1727903       500      8901              2    16.80        33.60   KALE, GREEN               24 CT.                     12/22/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1727903       280      8921              0    38.80          -     LEAVES- KEIFER LIME               1#                 12/22/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1727903       600      8929             10    26.80       268.00   LEEKS                12 Bunch                        12/22/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1727903       210      9989             10     3.50        35.00   LEMONGRASS                     1#                    12/22/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1727903       240      9987             27    12.50       337.50   LETTUCE, BABY LOLLA ROSA               2lb.          12/22/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1727903       250      8955             27    13.50       364.50   LETTUCE, BABY RED OAK                2lb             12/22/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1727903       610      8979             20    26.50       530.00   LETTUCE, ICEBERG               24 CT.                12/22/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1727903       270      8992              3    26.50        79.50   LETTUCE, RED LEAF              24 CT.                12/22/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1727903       620      8998             30    24.80       744.00   LETTUCE, ROMAINE               24 CT.                12/22/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1727903       810      9037            160     7.50     1,200.00   MANGOS                  12 CT.                       12/22/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1727903        20      2740              5    18.40        92.00   MICRO GREENS- LEAVES DULCE KC               50 CT    12/22/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1727903        10      9137              2    28.40        56.80   MICRO GREENS- SAKURA MIX CRESS               16 CT   12/22/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1727903       300      9207              6    24.60       147.60   MUSHROOMS, OYSTER                    3#              12/22/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1727903       290      9223              7    16.50       115.50   MUSHROOMS, ROYAL TRUMPET (KING OYSTER) 3#            12/22/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1727903       640      9309             20    12.50       250.00   ONIONS, RED, MEDIUM               25#                12/22/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1727903       630      9317              1    22.50        22.50   ONIONS, WHITE, JUMBO               50#               12/22/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1727903       830      9341            180    13.80     2,484.00   ORANGES                 125 CT.                      12/22/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1727903       831      9341            180    13.80     2,484.00   ORANGES                 125 CT.                      12/22/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1727903       840      9374            220    12.50     2,750.00   PAPAYA, BRAZILIAN             10 CT.                 12/22/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1727903       850      1204             10    29.90       299.00   PEARS, BARTLETT              120 CT.                 12/22/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1727903       320      9481              0    12.50          -     PEPPER, JALAPENO                 10#                 12/22/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1727903       330      9524              1    12.50        12.50   PEPPER, SERRANO                  10#                 12/22/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1727903       450      9548              1    48.00        48.00   PINEAPPLES GOLD, BABY            10-12ct.            12/22/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1727903       860      9549            120    13.88     1,665.60   PINEAPPLES GOLD, CROWNLESS                10 CT      12/22/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1727903       400      9551              1    24.50        24.50   PLANTAINS GREEN                  50#                 12/22/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1727903       470      9556              0    29.80          -     PLUMS, BLACK, VOLUME FILL              28#           12/22/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1727903       460      9562              0    29.80          -     PLUMS, RED VOLUME FILL               28#             12/22/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1727903       680      9985              1    18.50        18.50   POTATO, RED B                 50#                    12/22/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1727903       660      1498             28    19.00       532.00   POTATO, RUSSET               100 CT.                 12/22/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1727903       670      9618             80    18.50     1,480.00   POTATO, YUKON GOLD A                50#              12/22/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1727903       260      9679             13    13.50       175.50   RADICCHIO                12 CT.                      12/22/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1727903       690      9690              1    24.80        24.80   RADISH, RED                 40#                      12/22/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1727903       170      9992              6     5.50        33.00   ROSEMARY                     1#                      12/22/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1727903       720      9698              5    27.50       137.50   RUTABAGAS                    50#                     12/22/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1727903       180      8695              1     8.00         8.00   SAGE                    1#                           12/22/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1727903       480      9740              2    39.00        78.00   SALSIFY              10#/CASE                        12/22/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1727903       650      2743              2    46.80        93.60   SHALLOTS, WHOLE               8/5# BAG               12/22/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1727903       150      2377              1    48.90        48.90   SPINACH, WATER (KANGKONG)                 10#        12/22/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1727903       340      2377              1    48.80        48.80   SPINACH, WATER (KANGKONG)                 10#        12/22/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1727903        50      9763              1     7.50         7.50   SPROUT, BEAN               5#/CASE                   12/22/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1727903       350      1670              1    20.80        20.80   SQUASH, CHAYOTE WHITE                 40#            12/22/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1727903       190      8696              2     8.50        17.00   TARRAGON                     1#                      12/22/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1727903       200      8698              2     5.50        11.00   THYME                    1#                          12/22/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1727903       700      9846             80    16.50     1,320.00   TOMATOES, 6X6                  25#                   12/22/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1727903       360      2254             18    14.80       266.40   TOMATOES, CHERRY (SHIPS)            12/1pt.          12/22/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1727903       380      9853              1    36.80        36.80   TOMATOES, ORGANIC GRAPE               12/1pt.        12/22/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1727903       370      9863              3    18.50        55.50   TOMATOES, PLUM                  25 #                 12/22/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1727903       710      9902             10    13.50       135.00   TURNIPS                  25#                         12/22/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1727903       390      1739              2    16.30        32.60   WATERCRESS, FOODSERVICE                 2/1.5#       12/22/19   PRODUCE
 CRYSTAL CRUISE - SERENITY     1727903       820      9921             45    25.60     1,152.00   WATERMELON, SEEDLESS, 5'S               CASE         12/22/19   PRODUCE
                             1727903 Total                                            27,554.70
                              Grand Total                                            295,986.90




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